                                           Case: 23-5119            -- -9
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                                                                                              Filed: 07/14/2023              Page: 1
                                                     UNITED STATES COURT OF APPEALS
        F. E.C~IVED \                                        FOR THE SIXTH CIRCUIT



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       Utj,,\,;f~ \u e:~ J00 I»»;llas Ha11
                                               rn
                                       Ye DQrald Trump, et, al.,


             Address:             R.M.S.I. Unit 2-A-204                           7475 Cockrill Berrl Boulevard
            _ City:       Nashvil J e                                               State: 'llQr:11.            Zip Code: 37299 1'848



                                                              PRO SE APPELLANT'S BRIEF

               Directions: Answer the following questions about the appeal to the best of your ability. Use
               additional sheets of paper, if necessary, not to ex.ceed 30 pages. Ple.ase print or. write legibly, or type
               your answers double-spaced. You need not limit your brief solely to this form, but you should be
           ·_• certain that the document you file contains answers to the questions below. The Court prefers short
               and direct statements.

              Within the· date specified in the briefing letter, you should return one signed original brief to:

                                J                   United States Court of Appeals For The Sixth Circuit
                                 .-t                         540 Potter Stewart U.S. Courthouse
                                                                     100 East Fifth Street
                                                                Cincinnati, Ohio 45202-3988


              1. Did the District Court incorrectly decide the facts?                                               ~Yes

                      so, what facts?..,. . ,..4__,______,,_..,,,,.,,-..... . ..._,. . . .._.___..
                  If··--·---1..--,..--1                                                                                  .
                                                                                                 _ t_ _, _ _. ._ . ,_ _ _ _ _ _ _ _ _ _ .._ _ , _     _ .,.. _ _.., _ __   , ........




                            The appellant Jon Hall is not irlOOmpeterrt: ar.d capable of making his CMrJ
                       decisiors regardir'J3' the civil rights actia,, he filed orJ his owrJ behalf.
                         · The Court allowed Hall's attoITey I s & GuardiarJ to wrurp the core issues of
                       his canplaint, charJge the issues, and a l l ~ ur10Crstituticral cx:nlitic:rs of
                      _g;r_lfir~=gnt_@Y§M"!I..J2~l_g:9....~!i~-~~inement to corJ!:,irue ~~t-~ ~.!                                                                                       ,
              2. Do you think the District. Court applied the wrong law?                                             r5<J Yes           pNo
                                                                    _(i< JV He.61--ew..s ~ G- J X- 1                                ,AAJ ,


                  r:_~·~'--~~~~~-~~.:. .       ~~ :.~~-~.~~:~!:~:!:~-~.Q~(}..f~!.:e-~~~~ 'I-..1-: 1. ~--i ~ - / ~ "'----...........
                           The district court illegally mediated the case. No law was applied. I would
                      for both state ard federal constitutia-al laws to be applied to my case,arrl the
                      issues irNolved, iri accordance to oour'5el' s expressec;t declaratory claim for
                      injur.ctive .relief. V1 s. CL"l~..s:f . .A •-i , .f]L, ~ 2.. ''.sl.~Aid ;.1(/3 -.., .s ~ e., ~                         0.
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                      Mo.v- ~t,YV~\ Cc-.s\}(~IA Co, V, ~O.C i F"i <.. C.oc.,_l oi\ Co ft /\) 1 3 )3 V,5. '2..73/ C:, I s.                                           (_+ .
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                          Case: 23-5119                                        Document: 9                                   Filed: 07/14/2023                            Page: 2

j,    Doi    ;01Yes
                feel that there are any others reasons why the District Qourt's judgment was :,,rong?
                       nNo ~ Ar~v~~,.d                 Tk eauA r-~\,l(?J ~ ~ /w,....lyt-l.. cJ
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      Ifso, whatareTey?
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              The district Court should have resolved my state jurisdictional issues ·
        once Document 86 was er-Jtered or, my behalf by a Federal Public Defer-der. 'Iha facts ·
        an:l law su~p>rt the fact that the trial oourt did rJOt have charige of verue cause
        affidavits to char1i18 the verAJe, deprivirig the Madison Courrt:y Court jurisdic:tia-.1
        over the subject-matter, urder T.C.A. § 40-13-210; ard T.R.A.P., Rule 13.

4. ,_What    specific issues do you wish to raise on appeal? ·
      ,..__ _.,.....,_.,._ .,." ______ ,.,._,,,.,.,t-Mwu,,....._.,."'w_.,..,"'"'''.....,,..,,.._,...,....,,,.,_ .. _               _.tt,.oto.- -·.. .,1, _ _ ,.. __,,u,..,_~--•-..,-•..,..-.11.................... ,_ .. ., ..,__,... ,,,,..
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             a-, 03-16-23, I presented the .issues for appeal at documerJt 146, PageID, 1660,
       however, the district court did rJOt respcrd to claims irJ her Order.
             1.'l'he settlement agreernerrt: made by Hall's Attorney's ard Guardiar1 AdK Litem
       was in violation of the due process clause of the Corstitutiodl of the Utdted Stat
        !    2.Was it _proper for Mr. Hall's ooursel to make ar1 agreement that a l l ~ the
          .o.o~c. to deny all . claims with rJJ aanissia-1 of liability? . .       .
       . .3.: Was Sherrod, Roe, Voigt, ard HarbisorJ, (S.R.V.-H .) ur.duly influerDed by the
             error's appoird:.merit of T.D.o.c. iriterim Ccmnissiorier Lisa Helton?            _
             4. T.o.o.c. Policy 503.03 was inproperly adopted by the Department of correct!
           rl illegitimately approved by the quasi "Policy Makers7''
             s. Is Mr. Hall likely to ·sucoeed oriK THE merits of his case?
             6. Was Mr. Hall urduly irljared by Lisa Helta-1•s selectior.1 of ir.1terimCamdssia-
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          ev,,'l-e;u~l--r\,t,..t bu~ fo~~i:>..,.54,~v-hD-P 'i-'\ evv-r:>v- ,1· c.. A, ~ ~O-· I?; -z Io,, t:-!J._2J IJ
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           {-{A.ve. Ft?~ ·f~ __tJJ!'~d" ...
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                                                                                                   Al I ' ( ~ s J::S .                                                                                     *
5. What action do you want the Court of Appeals to take in this case?             u ,S, @_--329 1 /J , 1(8 ( l'r/5 ).
                      ,__,, _ _ _._,..,,,.....,,u___.,_,,e-,-•-,w~_.,.,_ __.,1#°""'""'-"''_ _,_ ,___ ,...,..,.._                                                               - - - • - - - - " ' ' "_ _ .,.,._


                      1 • Reverse ard remarrl case for declaratory order.

                      2. Reverse ard remarrl case for coristituticral violatiors.




                                                                                                                Signature (Notary not required)


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               Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 3



                       DECLARATION OF INMATE FILING

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                       AT CINCINNATI




       Jon Hall, Appellant,

                                                 RE: Appellate Case No: 23-5119

                                                      Trial Case No: 3:19-cv-00628



       Donald Trumpet.al., Defendants,
                                                                   .          -I~
              I am an inmate confined in an institution. Today, on the /2. day of July 2023, I
am depositing this Appellate Brief in the institution's mail system. It is being mailed first class,
postage prepaid by the appellant, Jon Hall himself.

               I swear and aver that I have sent a true and exact copy of the foregoing appellate
brief, via first class mail, postage prepaid to Dawn M. Jordan, at the office of the Attorney
General for the State of Tennessee, located at 500 Dr. Martin Luther King Blvd., P.O. Box
20207, Nashville, Tennessee 37202-0207, this the   .u!:_ day of July 2023.
               I declare under penalty of perjury that the foregoing is true and correct to the best
ofmy ability, knowledge and belief pursuant to 28 U.S.C.A. §1746.

       Signed on the I   z.1~day of July 2023,


               Jon
               R.M. .I. Unit 2 A-204
               7475 Cockrill Bend Blvd.
               Nashville, Tennessee 37209-1048
Case: 23-5119   Document: 9   Filed: 07/14/2023   Page: 4
                Case: 23-5119   Document: 9   Filed: 07/14/2023     Page: 5



                UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT



Jon Hall,                                     )
                                              )
   Appellant,                                 ) Sixth Circuit Court Case: No. 23-5119
                                              ) Trial Court Case: No. 3: 19-cv-00628
Vs.                                           )
                                              )
Donald Trump et. al.,                         )
                                              )
   Appellees.                                 )




                BRIEF OF THE APPELLANT JON HALL

                    ORALARGUMENTREQUESTED




                                                                  Jon Hall #238941
                                                              R.M.S.I. Unit 2 A-204
                                                          7475 Cockrill Bend Blvd.
                                                   Nashville, Tennessee 37209-1048
              Case: 23-5119        Document: 9        Filed: 07/14/2023      Page: 6



                                 DISCLOSURI~ STATEMENT

       The appellant, Jon Hall would state and aver that he is a Pro Se complainant in the above

styled case. He is filing this brief Pro Se, without the benefit of counsel for his representation and

discloses this information pursuant to Federal Rules of Appellate Procedure 26. l.

       The appellant is a prisoner in the Tennessee Department of Corrections, presently

sentenced to Death and housed at the Riverbend Maximum Security Institution located in

Nashville, Tennessee. The appellm1t does not have the benefit of West Law or Lexis to help him

up date the cases he is using in this brief. The prison library·s newest books date back to 2009.

Moreover, in lvfiddlebrooks v. lleltou, 2()23 WL 4()()247(), ''3--4, (M.D. T11. 06-14-23); The court

found that prisoners do not have a constitutional right to defendants compliance with any
           1POC.. Dl'
particular R.M.S.I. -er policy regarding library access. Thus demonstrating T.D.O.C. Policy

503.03 addressing Unit 2 programs, is not binding and an illusory contract.

 CERTIFICATE REGARDING COMPLIANCE v\1ITH WORD COUNT LIMITATIONS

       I certify that the foregoing Appellate Brief contains 11,644 words, which docs not exceed

the 13,000 thousand word count allowed by rule 28 Federal Rules of Appellate Procedure for

appellate briefs. This Brief complies with the Order of this Court.


Jon~, ~ n t Pro Se.




                                                  I
                    Case: 23-5119                Document: 9                Filed: 07/14/2023               Page: 7



                                                  TABLE OF CONTENTS

Disclosure Statement ....................................................................................... I

Table of Contents .......................................................................................... II

Table of Authorities ....................................................................................... III

Judicial Statement ........................................................................................ VII

Statement oflssues presented for review .............................................................. IX

Statement of the Case ..................................................................................... 01

Summary of the Argument .............................................................................. 06

Argument ................................................................................................... 08

Issue I.) The settlement agreement made by Hall's Attorneys and Guardian Ad Litem was
in violation of the due process clause of the Constitution of the United States ................ 08.

Issue II Was Sherrod, Roe, Voigt, and Harbison, (S.R.V.H.) unduly influenced by the
governor's appointment of T.D.O.C. interim commissioner Lisa Helton? ............................ 14

Issue III. Was it proper for Mr. Hall's counsel to make an agreement that allowed the
T.D.O.C. to deny all claims with no admission ofliability? .................................................... .16

Issue IV.          T.D.O.C. Policy 503.03 was improperly adopted by the Department of
Corrections and illegitimately approved by the quasi "Policy Makers?" ....................... 18

Issue V. Is Mr. Hall likely to succeed on the merits of his case? ............................................. 23

Issue      VI.      Was       Hall       unduly         injured        by       Lisa     Helton's         selection         as     interim
Commissioner? ............................................................................................................................. 26

Conclusion .................................................................................................... 28

                                                                           II
                  Case: 23-5119             Document: 9           Filed: 07/14/2023             Page: 8




                                           Table Of Authorities
                                              State Case Citations

Cone v. Bell, 492 F.3d.@ 766,129 S.Ct. @1779 (2009) ............................................. 29
Cosby, 2005 WL 2217072, at* 2, n. 5 (Tn.App. 9/15/05) .............................................. 23
Dep't of Mental Health vAllison, 833 S.W.2d 82, 85 (1982) ......... ................................ 22
Ellis v. Duggan, 644 S.W.3d 85, 114-15 (Tn.App. 2021) .............................................. 27
Hall v. State, 2005 WL 22951@3, 12, 14-18 ............................................................ 09
Nobes v. Earhart, 769 S. W.2d@874 (Tn.App. 1988); ... ......................................... 17,.27
State v. Nichols, 877 S.W.2d. 722, 728 (1994) ......................................................... .29
Tn. Cable TVv Tn. Public Serv. Comm'n. 844 SW2d @168 (Tn.1992) .....................22,.23


                                                   State Statutes

T. C.A. § 4-3-603 ... .................................................................................................... 22
T.C.A. § 4-3-606 ......................................................................................... ..... 22
T.C.A. § 4-5-101 et.seq., (U.A.P.A) ................... .. 03,.05,.06,.12,.14,.16,.18,.19,.21,.23,.24,.27
T.C.A. § 4-5-102(10)(A) ... .................................................................................. 21
T.C.A. § 4-5-106(b) ... ....................................................................................... 21
T.C.A. § 4-5-211 ..................................................................................... 03,.23,.30
T.C.A. § 4-5-216 .... ................................................................................. 03,.19,.23
T.C.A. § 4-5-322 (h)(l, 3, & 4) .......... .................................................................. 23
T.C.A. § 16-1-105) .. ..................................................................................... 07,.13
T.C.A. § 16-3-405 ... ..................................................................................... 29,.30
T.C.A. § 29-21-101 ........................................................................................... 30
T.C.A. § 40-34-103 (c) .... ..................................................................... 03,.06,.15,.29
T.C.A. § 41-1-108 .. ................................................................................. 03,.18,.22
T.C.A. § 39-12-101 ... ....................................................................................... 29
T.C.A. § 39-13-101 . .......................................................................................... 29
T.C.A. § 39-13-501 ......................................................................................... .29
T.C.A.§ 39-13-506 ......................... .................................................................. 29
T.C.A. § 39-13-507 ............................................................................. .............. 29
T.C.A. § 41-21-402 ................ .......................................................................... 23
T.C.A. § 40-34-105 ................................................................................. 03,.19,.30
T.C.A. § 40-34-103 (c) .............................................................................................. 19
T.C.A. § 40-34-105 (b) .................................................................................. 06,.15
T.C.A. § 41-21-202 ................................................................................... ... 03,.19
T.C.A. § 41-21-402, ............................................................................. .... 02,.20,.21
T.C.A. § 41-21-818 .. ................................................................................ 03,.18,.22




                                                            III
                  Case: 23-5119               Document: 9              Filed: 07/14/2023               Page: 9



                                                  State Rules of Court

Tennessee Supreme Court Rule 8, ABA Rule I. 7 ...................................................... 14
Tenn.Crim.P. Rule 18 ....... ................................................................................ 29
Tenn.Crim.P. Rule 21 ...... ................................................................................. 29

                                        T.D.O.C. Policy and Procedures

T.D.O.C. Policy 401.08, VI. F. I ...................................................................... 20,.22

T.D.O.C. Policy and Procedure 503.03 ................. .................................................... .
. . . . . . . . . . . . . . . . . . . . .... . . . . . . . . .VII,.03,04,.05,.06,.07,.08,.12,.13,.14,.16,.18,.19,.20,.23,.25,.27,.29,.30

                                               Tennessee Constitution

Tennessee Constitution Article 1, § 9 ..................................................................... 29

                                                Federal Case Citations

Bell 441 U.S. at 547..................................................................................... 22,.24
Bout, 860 F.Supp.2d at 311 ... ............................................................................. 24
Burns v. Robertson Countv, 192 F.Supp. 3d. 909, 920-22 (M.D. Tenn. 2016) ................ 07,.18
Children Health Defense v. Food and Drug Administration, 573 F.Supp. 3d. 1224, 1241 (E.D.
Tn. 2020) ...... ................................................................................................ 24
Chrysler Corp.. 99 S.Ct. 1705, 1721 (1979) ...... ................................................... 15,.19
Farmer v. Brennon, 511 U.S. 825, 843 n. 8, 114 S.Ct. 1970, 1982, n. 8 (1994), ... ...... 05,.18,.25
Flagner, 241 F.3d at 483 ................................................................................... 24
For Seniors Help v. Westchester Fire Insurance Co., 515 F.Supp.3d 787, 801 (M.D. Tn.
2021.) .......................................................................................................... 15
Friedman, 573 F.Supp. 3d 1221, 1230-31 n. 7 (M.D. Tn. 2021) .. .......................... 18,.24,.25
Gardner v. Parsons, 874 F.2d 131,142 (3 rd Cir. 1989) ........ ................................... 04,.26
Greason, 891 F.2d. 829, 830@n. 20 (1998) ................................................. .. 05,.06,.16
Groseclose v. Dutton, 609 F.Supp. 1432, 1436 (Tenn. 1985) ........... ......................... 19,.20
Groseclose JI, 788 F2d. 351,361 (611' Cir. 1986) ......... .......................................... 20,.28
Gotti, 755 F.Supp. at 1164 ................................................................................. 22
Grubbs, 552 F.Supp.1052, 1060 (M.D. Tn.1982) ................................................ 19,.21
Grubbs, 821 F.Supp. 496, 504-05 (Tn. 1993) ...... ................................................ 20,.28
Hall v. Mays, 7 4th 433, 442 (6"' Cir. 08/03/21) .................................................. .. 05,.09
Hardv. 618 F.Supp. 3d 671, 692-93 Hn.10 (M.D. Tn. 2022) .................................... 18,.25
Harmelin v. Michigan, 501 U.S. 957, 973-976 (1991) ... .............................................. 30
Henry Jones v. Mays, No: 3:21-cv-00666; 2022 WL 3651964,@ *10. (August 24, 2023.) .. .... 20
Hodge v. Lisa Helton, No. 22-1440-JII, Davidson County Tennessee Chancery Court, filed
10/28/22 ....................................................................................................... 14

                                                                 IV
                    Case: 23-5119                 Document: 9               Filed: 07/14/2023                 Page: 10



Hugueley v. Tony Parker, et. al., Case No. 3:19-cv-00598 ................... .. 01,.05,.10,.13,.16,.26
Hugueley v Parker, 2020 WL 4753845 *6 (08/17/20) ........................ ...................... 03,.05
In re Medley, 134 U.S. 160,174 (1890) ............ ...................................................... 30
Jon Hall v. Carpenter, 2015 WL 1464017* 19 (M.D. Tenn. 03/30/15) .. ....................... 05,.09
Jon Hall v. Donald Trump, 2020 WL 1061885 * 6 .................................................... 02
Jon Hall v. Donald Trump, 2019 WL 5728097 (M.D. Tenn. 11/02/19) .... ......................... 01
Jon Hall v. Donald Trump et.al., No. 3:19-cv-00628 ...... ........................................ 01,.10
J.H., 951 F.3d at 718 ...... ................................................................................. 22
J.H. v. Williamson County Tennessee, 2016 WL 7230506 *2 (M.D. Tenn. 12/14/16) ........... 04
Kelly v. Brewer, 378 F.Supp. @451 n.12 (1974) ...... ................................................ 21
Lindsey v. Washington, 301 U.S. 397,401, 57 S.Ct. 797, 799 (1937) .......................... 13,.28
Mackey v. Dyke, 111 F.3d. 460,462 (611' Cir. 1997) ............ ....................................... 25
Mandela v. Campbell, 978 SW2d 531,532, 11. 2 (Tn.1998) .......................................... 21
Martin v. v. Dep 't of Corrections, 424 Mich. 553, 562-65, 384 N. W.2d 392 (1986) ............ ... 22
McClary v. Kelly, 87 F.Supp.2d 205, 214 (2000) .................................................... ... 28
Middlebrooks v. Helton, 2023 WL 4002470, *3-4, (M.D. Tn. 06-14-23) .... ........................ .I
Miller v. Calhoun Citv, 408 F.3d. 803, 819 (611' Cir. 2005) ......... .................................. 07
Occupy Nashville v. Haslam, 949 F.Supp.2d 777, 794-95, & 803 (Tn. 2013) ... 20,.23,.25,.27,.28
Reid v. Lee, 597 F.Supp.3d 1177, 1180-81 (M.D. Tn. 2022) ............ .............................. 20
Ross v Blake, 136 S.Ct. 1850, 1859 (2016) ........................... .................................... 03
Sandin v Conner, 515 U.S. 472,484,115 S.Ct. 2293, 2300 (1995) ............ ...................... 25
Seniors Help v. Westchester Fire Insurance Co., 515 F.Supp.3d 787, 801 (M.D. Tn. 2021. ) ... 17
 U.S. v. Dyess, 291 F.Supp.2d 493,497 (2002) ............ .............................................. 15
 U.S. v. Taylor, 21 F.4tlt 94, 100-101 n. 3 & 6 (2021) ..... ............................................. 10
 Whitney v. Brown, 882 F.2d 1068, 1074 (6th Cir. 1989) ............ .............................. 22,.24
 Williams v. Meltra. 186 F.3d 685, 689 (611' .Cir. 1999) ...............................................................VII

                                                         Federal Statutes

18 U.S.C.A. § 3729-3733 .................................................................................... 07
28 U.S.C.A. § 1291 .....................................................................................·..... VII
28 U.S.C.A. § 2201 ......................................................................................... .IX
28 U.S.C.A. §2202 .................................. , ........................................................ IX
28 U.S.C.A. § 1331 ......................................................................................... VII
28 U.S.C.A. § 1367............................................... ........................................... VII
U.S.C.A. 28 § 1915A, ... .................................................................................... 01
 28 U.S.C.A. § 1915 (e)(2) ...... ............................................................................ 01
28 U.S.C.A. § 1651 .......................................................................................... .IX
42 U.S.C.A. § 1983 .......................................... ............................. VII,.01,.02,.03,.13
42 U.S.C.A. § 1997e, ..................................................................................... ... 01
42 U.S.C.A. § 1997 (/) ... .................................................................................... 07
P.L.R.A ................................................................................................. ............................. 13,.17,.26
P.L.R.A. 's 42 U.S.C.A. § 1997 (d)(2) . ..................................................................... 07
42 U.S.C.A. § 1997 § (/) ..... ............................................................................... 13
P.L.R.A. 's 42 U.S.C.A. § 1997g .... ....................................................................... 06
                                                                       V
                 Case: 23-5119           Document: 9          Filed: 07/14/2023          Page: 11




42 U.S.C.A. § 1988 ... ....................................................................................... 17

                                                Federal Rules

Federal Rules of Evidence 601 .............. .............................................................. 10
Fed.R.Civ.P., Rule 17(C) ................................................................................... 12

                               Federal Constitutional Amendments

Art. 3 § 2 (3) ... ............................................................................................... VII
U.S.C.A. 8th Amendment ................................................................................. .. 06
14"' Amendment due process rights .................................................................... ... 09

                       Universal Declaration of Human Rights (1948).

Article 6 ........................................................................................................ 09
Article 12 ...................................................................................................... 09
Article 18 ...... ................................................................................................ 09
Article 19 .... .................................................................................................. 10

                                               Other Citations

Death Row. Washington University Journal of Law & Policy, Citation; Stuart Grassian,
Psychiatric Effects of Solitary Confinement, 22 Wash, U.J.L. & Pol'y 325 (2006), http://
openscholarship. wustl.edu/lawjournal_law_policy/vol22/iss 1/24 ................................... 07


Hampton v. Dep't. of Corrections, 336 N.J. 520, 527-530, 765 A.2d 286, 289-90 (N.J. A.D.
2001) .................................................................................................. ..... 21,.22


Martin Horn Former New York Commissioner of Corrections Expert Report. (D.E. 146
PageID# 1697-98 ........................................................................................20,.26


Massey v. Secretary, Dep't of Public Safety and Correctional Services, 389 Md. 496, 523-24,
886A.2d 585, 601-02 (Md. 2005) ................................................ ......................... 21




                                                         VI
             Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 12




                                       Judicial Statement
       In Williams v. Mehra, 186 F.3d 685, 689 (6111 Cir. 1999); this court said; a court has

jurisdiction Under 28 U.S.C.A. § 1291, to hear only cases based upon a "final decision" of the

district court. Pursuant to 28 U.S.C.A. § 1367, Pendent Jurisdiction, this Honorable Court has

jurisdiction under U.S.C.A. Constitution Art. 3 § 2 (3) to hear and adjudicate every issue

presented in this brief. The appellant Jon Hall filed a 42 U.S.C.A. § 1983 civil rights complaint in

the Federal Middle District Court of Tennessee to redress the issues of his confinement pursuant

to T.D.O.C. Policy and Procedure 503.03. Because the appellant lives in Nashville, Tennessee,

the Middle District Federal Court has jurisdiction over the subject matter as well as jurisdiction

over the person of the appellant. The appellant Jon Hall lives in the State of Tennessee which is

in the Sixth (6 th ) Circuit Courts Jurisdiction. Title 28 U.S.C.A. § 1331, Federal Question. The

appellant filed a Federal Complaint in the Federal Court for Middle District of Tennessee to

redress unconstitutional issues. The appellant, Jon Hall does not agree with the settlement made

in the Federal District Court, and because of this disagreement, is appealing the issues contained

in this Brief to the Appellate Coutt. The Order from the Federal District Court that is being

appealed was filed on the 11 th day of April 2022; (D.E. 124). The appellant filed a Motion to

Dismiss Fiduciary Agents due to Breach of Contract on the 22 nd day of April 2022; (D.E. 125).

The appellant filed a motion to Withdrawal Settlement Agreement due to breach of contract on

the 13 th day of October 2022; (D.E. 126). On the 13 th day of October 2022, the appellant filed a

Motion, rules improperly adopted are void; (D.E. 127). On the 13 th day of October the appellant

filed a notice; (D.E. 128). On the 13 th day of October 2022, the appellant filed a Statemeut from

his Prisoner Trust Fund Account; (D.E. 129). The Federal District Court filed an Order making

                                                VII
             Case: 23-5119       Document: 9       Filed: 07/14/2023      Page: 13



the defendants respond to the appellants' motions on the 18th day of October 2022; (D.E. 130).

On the 26 th day of October 2022, a Notice of Appearance was filed by John Ross Glover; (D.E.

131). On the pt day of November 2022, the appellant filed a Notice of Imminent Danger; (D.E.

132). On the I ot11 day of November 2022 a response was filed by the defendants concerning

Documents 125 and 126; (D.E. 133). On the 7th day of December, the appellant filed a motion

for default... (D.E. 134). On the 14th day of December 2022, the Federal District Comt Denied

D.E.'s 125, 126, and 127, and Ordered the defendants to answer D.E. 134 directly to the

appellant; (D.E. i35). On the 9th day of January 2023, the defendants filed a Response to D.E.

134; (D.E. 136). On the 9th day of January a motion to file sealed documents was entered; (D.E.

137). On the 9th day of January 2023, Sealed Documents were filed by the defendants; (D.E.

138). On the 10th day of January 2023, an Order was granted concerning D.E. 138; (D.E. 139).

On the 10th day of January 2023, an Order denying the appellants motion of D.E. 134, was filed

by the Federal District Comt; (D.E. 140). On the 12th day of Januaty 2023, the appellant filed a

Motion to Alter and Amend the Order filed in the Federal District Court; (D.E. 141). On the 13 th

day of Januaiy 2023, an order denying the appellants Motion to Alter and Amend was filed;

(D.E. 142). On the 24 th day of January 2023, a motion to Strike Insufficient Defense by Jon Hall

was filed by the Federal District Court. (D.E. 143). On the 10th day of February 2023, the

appellant filed a Notice of Appeal as to D.E. 140. (D.E. 144). On the 13 th day of February 2023

the appellant was issued the Appellate case number of23-5119 concerning D.E. 140. (D.E. 145).

Motion to proceed as a pauper and petition for permission to appeal was filed by the appellant on

the 16th day of March 2023. (D .E. 146). Pursuant to the time line issued by this Honorable Court

                                              VIII
             Case: 23-5119        Document: 9        Filed: 07/14/2023   Page: 14



this present Brief is due by the 20 th day of July 2023. This Honorable Court has jmisdiction

pursuant to 28 U.S.C.A. § 1651. all writs act; 28 U.S.C.A. § 2201 and 28 u;s.C.A. § 2202, to

issne both declaratory and injunctive relief




                                  Issues Presented !<'or Re,·iew

Issue I.) The settlement agreement made by Hall's Attorneys and Guardian Ad Litem was
in violation of the due process clause of the Constitution of the United States.

Issue II Was Sherrod, Roe, Voigt, and Harbison, (S.R.V.H.) undulr intlnenccd by the
governor's appointment of T.D.O.C. interim commissioner Lisa Helton'?

Issue III. Was it proper for Mr. Hall's counsel to make an agreement that allowed the
T.D.O.C. to deny all claims with no admission ofliability'?

Issue IV.     T.D.O.C. Policy 503.03 was improperly adopted by the Department of
Conections and illegitimately approved by the quasi "Policy Makers'?"

Issue V. Is Mr. Hall likely to succeed on the merits of his case'?

Issue VI. \Vas Hall unduly injured by Lisa Belton's selection as interim Commissioner'?




                                                IX
               Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 15



                                        Statement of the Case

        The appellant Jon Hall respectfully notifies this Honorable Court that he has used initials

 in the place of actual names. The following names have been initialized for the purpose of this

 Brief: S.R.V.H. = Sherrod, Roe, Voigt, & Harbison; R.M.S.I. = Riverbend Maximum Security

 Institute; T.D.O.C. = Tennessee Department of Corrections; P.L.R.A. = Prison Litigation

. Reform Act; D.E. = Document Evidence; U.A.P.A. = Uniform Administrative Procedures Act;

        On July 12, 2019, Stephen Hugueley filed a condition of confiriement case on

 Tennessee's death row.Hugueley v. Tonv Parker, et. al., Case No. 3:19-cv-00598; (D.E. I,

 PageID #1-19). Mr. Hugueley won summary judgment. (D.E. 75, M.D. Tennessee 08/17/20).

        On July 24, 2019, appellant, Jon Hall, an inmate on death row in Riverbend Maximum

 Security Institution, filed a civil rights action under 42 U.S.C.A. § 1983 (Document No. 1,

 Page!D # 1 -51). On September 3, 2019, this case was moved to United States District Court

 Judge, for initial review as a case related to Jon Hall v. Donald Trump et.al.• No. 3:19-cv-

 00628; to decide if Mr. Hall's case met the Prison Litigation Reform Act requirements under 28

 U.S.C.A. § 1915 (e)(2) and U.S.C.A. 28 § 1915A, and 42 U.S.C.A. § 1997e, and Ordered that

 appointed counsel must file an amended complaint within 30 days of appointment. (Document

 No. 7, 9/03/19; Page!D 195-198).

        On October 02, 2019, the Court ORDERED, "the Clerk of Court to seek counsel willing

 to amend and litigate his claim regarding his prolonged detention in solitary confinement and

 related constitutional deprivations;" ultimately deciding plaintiff stated a colorable claim for the

 screening process. (Document No. 8; 10/02/19; Page!D # 199-201) Jon Hall v. Donald Trump,

 2019 WL 5728097 (M.D. Tenn. 11/02/19).



                                                  I
             Case: 23-5119       Document: 9       Filed: 07/14/2023     Page: 16



       On March 05, 2020, Judge Trauger, issued a Memorandum and Opinion, detennining that

the Defendant Tony Parker's, Motion to Dismiss, is denied, and then granted plaintiffs Fourth

Amended Complaint (Document 36; 03/05/20; PageID # 412-418). Jon Hall v. Donald Trump,

2020 WL 1061885 * 6 (M.D. Tn. 03/05/20). Under B (Analysis) of this opinion, the Court refers

to (D.E. No. 30, at 2 Jon Hall v. Donald Trump, 2020 WL 1061885 * 2 (M.D. Tenn. 03/05/20)

Analysis 5, PageID # 349), finding 'the relief the plaintiff seeks is systematic in nature and

involves changes to the policies and procedures set and controlled by Defendant Parker (D .E.

No. 30, at 3 8, PageID # 350); Defendant Parker, as Commissioner, 'provides final approval of

rules applicable to death row inmates and is ultimately responsible for T.D.O.C.'s policies and

Procedures, as well as for funding necessary to provide resources to prisons, prison personnel,

and ultimately to prisoner's. He has the authority to make changes in [the plaintiffs] procedures

and living conditions, and is the only Defendant with the authority to provide all of the

systematic changes and resources [the plaintiff] seeks in this case." (D.E. No. 30, at 4 § 13,

PageID # 351 ).

       On March 20, 2020, Bill Harbison, filed his Fourth Amended Complaint, alleging

Defendants have violated the Americans with Disabilities Act and T.C.A. § 41-21-402, that

prohibits T.D.O.C. from holding an inmate in solitary confinement for more. than thirty days.

(Document 41-1; filed 3/20/20, PageID # 456-585).

       The Appellant relied on counsel's complaint requesting: (1) a ruling on Hall's legally

vested rights after a prolong detention in solitary confinement; when Attorney Bill Harbison,

explicitly promised: "to seek a declaration that the defendant's conduct violates 42 U.S.C.A. §

1983," in order to perform his duty to "seek injunctive relief as fashioned by this Court to

address Mr. Hall's psychological and medical needs," caused by prolong and indeterminate



                                               2
              Case: 23-5119      Document: 9        Filed: 07/14/2023     Page: 17



solitary confinement "The relief Mr. Hall seeks is systematic in nature and involves changes to

policies and procedures set and controlled by Defendant Parker." (D.E. 41-1; 4th; filed 3/20/20;

PagelD # 458-459, § 10). This critical process was bypassed by the guardian's agreement, to

overcome Hall's will and freedom of choice. But See: "Motion To Be Heard / Offer of Proof:

Land of the Free," for purpose of access to court and defense against persecution and abuse of

power, hatched by corporate agents misapplying illegally adopted policies that bypass the

legislatures will using consent decrees. (D.E. 60, PagelD # 646, § 8, & PageID 687 .)

       Mr. Hall gave notice in the beginning, that overriding T.C.A. § 41-21-202 (classification),

with T.D.O.C. policy 503.03, caused hann. This rule is not promulgated through the U.A.P.A.

under T.C.A. § 41-1-108, and T.C.A. § 41-21-818, nor signed by Atty. General as required by

T.C.A. § 4-5-211, and is void under T.C.A. § 4-5-216, and violate the separation of powers.

(D.E. 1-9, PagelD # 101; CR-3004; 12/01/20). Its undisputed, that exhaustion of state remedies

under T.D.O.C. / R.M.S.I. warden's administration is futile or a dead-end. Hugueley v Parker,

2020 WL 4753845 *6 (08/17/20) (Warden "curious" about why Halls grievance was deemed

non-grievable. "The administrative process is so confusing and unworkable as a practical

matter.") Ross v Blake, 136 S.Ct. 1850, 1859 (2016). Thus, Hall's expressed standing objective,

about Commissioner's failure to promulgate Rules, is ripe. Thus, the settlement agreement

improperly circumvented Hall's grievance regarding the adoption of T.D. 0. C. Policy 503. 03

outside the scope of legislation in violation of T.C.A. § 40-34-103 (c) (agreements; noticed: no

first-degree murder can get a R.E.D. from solitary confinement under contract sentencing laws.)

T.C.A. § 40-34-105.

       The appellant, Jon Hall initiated the above styled 42 U.S.C.A. § 1983 civil rights

complaint with the purpose of remedying the harm caused by the psychiatric effects of prolong



                                                3
              Case: 23-5119         Document: 9       Filed: 07/14/2023     Page: 18



solitary confinement, governed by T.D.O.C. Policy and Procedure 503.03 that violated his civil

rights. It was not until the District Judge compelled mediation, that the issue Mr. Hall

complained about was removed from contention, after the appellant complained that he wanted a

declaratory judgment as well as an injunction as promised to him by appointed counsel. Mr. Hall

was then given a Guardian Ad Litem to act in his stead without standing. This action was done in

secret without any notice, knowledge or permission. Gardner v. Parsons, 874 F.2d 131, 142 (3 rd

Cir. 1989).

       The mediation and bad faith settlement went forward without any in put by the appellant.

The issue regarding the unconstitutional conditions created by T.D.O.C. policy 503.03 was

extinguished as a part of the settlement, and the case was subsequently dismissed without ever

making a ruling on Mr. Hall's civil rights violations. These violations are still being violated this

day. The creation of program cages is material evidence showing the merits of Mr. Hall's civil

rights violation claim. This proves that he was illegally punished by indeterminate solitary

confinement, without a rehabilitative purpose for his administrative confinement, waiTanting a

declaratory rights determination.

       Federal Public Defender attorney, Ms. Kelly Henry, obtained pictures that show the

defendants lied about the rehabilitation cages. No party did anything about this situation to show

that the appellant was not a liar when he and other inmates privy to the facts submitted affidavits

alleging the defendants non-compliance as part of their official duty as appointed counsel in this

matter. (D.E. 123-1 PageID @1530-31, RE: Bradley MacLean's duty); and (D.E. 134, PageID.

#1512-1527 Five (5) Inmate affidavit(s) Re: Rehabilitation Cages). J.H. v. Williamson County

Tennessee, 2016 WL 7230506 *2 (M.D. Tenn. 12/14/16).




                                                  4
              Case: 23-5119        Document: 9        Filed: 07/14/2023      Page: 19



       Almost a year before Stephen Hugueley committed suicide, the defendants in the case

filed for summary judgment and were denied, Hugueley v. Tony Parker. 2020 WL 4753845

(M.D. Tn. 08/17/20) ( Hugueley v. Tony Parker, 3:19-cv-00598; D.E. 75). The day Mr. Stephen

Hugueley committed suicide; Judge Trauger issued an order scheduling a conference with the

Mediator. (July 20, 2021; D.E. 120); Hugueley v. Tony Parker,: 3:19-cv-00598; starting a chain

of events that should have lead to a trial, to prevent and address the risk of death row conditions

of confinement. Farmer v. Brennon, 511 U.S. 825, 843 n. 8, 114 S.Ct. 1970, 1982, n. 8 (1994),

(Officials should be held liable when they have knowledge that put identifiable group(s) of

prisoners at risk concerning their conditions of confinement.) Greason, 891 F.2d. 829, 830@n.

20 (1998).

       Jon Hall's case and Mr. Hugueley's case were operating in tandem at that time. Judge

Trauger filed an order compelling mediation of both cases. It was this order that provoked

Stephen Hugueley to commit suicide because the Mediators were not considering his claims for

settlement. (Hugueley 3:19-cv-00598; D.E. 119 PageID #2128 - Mr. Hugueley's frustration with

mediation tactics, no consideration of his requested relief filled with suicidal ideation, filed three

(3) days before his suicide). After Hugueley's suicide, Counsel for Jon Hall made a false claim

that he was incompetent and usurped his position by appointing him a Guardian Ad Litem,

keeping him from having a voice or from governing the direction of his case. Jon Hall v.

Carpenter, 2015 WL 1464017* 19 (M.D. Tenn. 03/30/15) (Incompetent claims are not credible

and not supported by the evidence). Hall v. Mays. 7 4th 433,442 (6111 Cir. 08/03/21).

       This brief is a result of the actions, omissions, and rulings by the parties in the above

styled action, trying to approve T.D.O.C. Policy 503.03 without going through the U.A.P.A.




                                                  5
              Case: 23-5119       Document: 9       Filed: 07/14/2023    Page: 20



                                       Summary of the Argument

         The appellant Jon Hall would respectfully incorporate the Statement of the Case in this

Summary of the Argument submitted to this Honorable Court for its approbation.

         The appellant, Jon Hall, asks this Court: whether consideration was given to T.D.O.C. 's

UN-promulgated Policy 503.03 through U.A.P.A., used in Hall's illegal contract sentencing

agreement (D.E. 123-1, PageID # 1328, II; Policy 503.03), governed by T.C.A. § 40-34-103 (c)

(1st degree murder conviction exempt from contract sentencing); & T.C.A. § 40-34-105 (b)

agreement arising under P.L.R.A. 's 42 U.S.C.A. § 1997g [(a)]; will pass legal analysis scrutiny

under unconstitutional conditions doctrine? Appellant says the agreement terms are outside the

scope of Tennessee's legislative authority, and T.D.O.C.'s application of unauthorized T.D.O.C.

policy 503.03, was ignored by quasi-policy makers to override prisoner's right to objective

security classification factors. The supervisors approval of this policy was ill conceived and

violated U.S.C.A. 8th Amendment; Greason v. Kemp, 891 F.2d. 829,837, n. 18. (1990).

         When it became apparent that the appellant would not accept the mediated settlement, the

Court made a ruling that a Guardian would be appointed to Hall for the sole purpose of

Mediation and Settlement of the case. (D.E. 98 PageID # 1263-64.) This was done in the

appellants abstention without regard to the appellants expressed issues. (D.E. 146 PageID. #

1678.)

         The appellant filed several motions to redress the harm caused by the informal policy

making as part of associational standing for death row prisoners. Inmates on death have suffered

self-mutilation and suicide because of the prolonged conditions of solitary confinement. This

was the sole purpose and personal interest in Mr. Hall's complaint. Serious Mental and Physical

harm has been caused by the informal policymaking, already in place that has affected all of the


                                                6
             Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 21



inmates on Tennessee's Death Row. Washington University Journal of Law & Policy, Citation;

Stuart Grassian, Psychiatric Effects of Solitary Confinement, 22 Wash, U.J.L. & Pol'y 325

(2006), http:/I openscholarship. wustl.edu/lawjournal_law_policy/vol22/iss 1/24

       A genuine issue of material fact at issue exists as to whether the unauthorized T.D. 0. C.

Policy 503.03 provisions still needs consideration regarding Halls claim of unauthorized

punishment. The prolonged solitary confinement in combination with the negligent of medical

and mental health care provided to prisoners, show the policy makers are grossly incompetent, or

inadequate so as to prove deliberate indifference. Burns v. Robertson Countv, 192 F.Supp. 3d.

909, 920-22 (M.D. Tenn. 2016). The record before the court would support that finding. Miller

v. Calhoun Citv. 408 F.3d. 803, 819 (611' Cir. 2005). Appellant submits that a reasonable jury

should have been commissioned to decide the merits of his action, rather than circumventing

Hall's right to participate under 42 U.S.C.A. § 1997 (/); T.C.A. § 16-1-105) to address his

interests, denied by an ex-parte conference hearing, violating and overriding his will to make his

own decisions, by guardian Bradley MacLean. He made an unauthorized settlement agreement

on Hall's behalf, in a collective bargaining fashion to extinguish Mr. Hall's expressed grievances,

and deny him his Declaratory Judgment. (D.E. 146, page!D 1644, & 1648; 7/27/21). Terms of

the agreement ratified over Hall's objection, benefited: (1) T.D.O.C.'s own self-dealing lucrative

financial interests; (2) provided for guardian's lifetime contract benefits to usurp a competent

persons will, and decision-making, in violation of 18 U.S.C.A. § 3729-3733; and (3) Hall's

counsel S.R.V.H., self-dealt attorney fee benefits exceeding over 25% of P.L.R.A. 's 42 U.S.C.A.

§ 1997 (d)(2), overlooking T.D.O.C.'s unauthorized selective, multiple punishment scheme

discriminately applied to Tennessee's death row. Thus, causing mental illness to prisoners




                                                7
             Case: 23-5119       Document: 9         Filed: 07/14/2023    Page: 22



serving inordinate, prolong detention in solitary confinement conditions, creating a serious risk

of injury, in violation of double jeopardy, and cruel and illegal punishment standards.

                                         ARGUMENTS

       I.) The settlement agreement made by Hall's Attorneys and Guardian Ad Litem was

in violation of the due process clause of the Constitution of the United States.

      The appellant Jon Hall submits that he was taken out of any adversarial processes

concerning his case when he was appointed a guardian. The issues complained of by the

appellant regardless of the requested mediation by the court, were changed, never adjudicated,

nor addressed in any way. Shortly after Mr. Hugueley committed suicide, counsel notified Mr.

Hall, that "on July 26, 2021 (without any prior notice provided by counsel to plaintiff, or Hall's

presence at hearing); Judge Trauger, granted a Motion for Appointment of Guardian Ad Litem,

appointing Bradley Maclean, only for mediation and settlement. (Document 98; PageID # 1263-

64). In short, counsel secretly moved the court to have a guardian appointed to Hall, to stave off

effective review and relief on Mr. Halls claims. This allowed the court to ignore the actual issues

the appellant had filed in his complaint and combine his case with the deceased Stephen

Hugueley's case in order to derail his declaratory order concerning the legality of T.D.O.C.'s

policies. Appointing the appellant a guardian kept him silent, and the attorneys for the appellant

were able to infmm the court that he was not being held in solitary confinement, when in truth he

was being held in solitary confinement in the same conditions and circumstances as Stephen

Hugueley. Keeping the appellant silent, allowed the defendant's attorneys to successfully make

pleadings to the mediator regarding four (4) inconsistent T.D.O.C. Policies 503.03.

       The depositions of the defendants named in this case were not even placed in the record

of the proceedings. This part of the settlement the appellant refused to agree to was taken out of


                                                 8
             Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 23



his hands. Hall was labeled incompetent to undermine his complaint, to dismiss the issues and

cover up the official oppression, by making an agreement allowing them to claim: "No

Admission of Liability." (D.E. 123-1 PageID # 1327, § I. 4.)

         The Middle District Comt of Tennessee, located at Jackson Tennessee had already

deemed, ruled and adjudicated that the appellant Jon Hall was competent. This competency was

based upon Hall v. State, 2005 WL 22951 @ 3, 12, 14-18; Jon Hall v. Carpenter, 2015 WL

1464017 *19 (W.D.E.D. TN. 2015); Hall v. Mays, 7 F.41h 433, 442 (6th Cir. 2019). The claim

that Hall was not competent is not supported by the evidence and not credible. The Guardian Ad

Litem abused his power because he went ahead and signed the settlement agreement on Mr.

Hall's behalf, over his advanced objection to the March 25, 2022 agreement, ratified by Attorney

Brad Maclean and Lisa Helton, against Hall's will. (D.E. 123-1. PageID #1332.); From the start,

Mr. Hall as a pro se litigant, began preparing grievances, filing administrative appeals and

motions, citing facts and raising theories counsel used to amend his complaint. This raises a

suspicious circumstance to view the motive behind governing the direction of only the mediation

and settlement part of this case. The appointment of and wrongful            usurpation of Halls

declaratory rights by a guardian violated Mr. Halls 14th Amendment due process rights.

       Joint participation by interested parties, deprived Mr. Hall of his dignity and equal

treatment of inalienable rights, as a member of the human family, the foundation of freedom,

justice and peace. See: Universal Declaration of Human Rights (1948): which provides; Article

6; (Everyone has the right to recognition everywhere as a person before the law); Article 12 (No

one shall be subjected to arbitrary interference with his privacy, family, home or correspondence,

nor to attacks upon his honor and reputation. Everyone has the right to the protection of the law

against such interference or attacks.); Article 18: (Everyone has the right to freedom of thought,



                                                9
             Case: 23-5119       Document: 9         Filed: 07/14/2023    Page: 24



conscience and religion; this right includes freedom to change his religion or belief. and freedom,

either alone or in community with others and in public or private, to manifest his religion or

belief in teaching, practice, worship and observance.) Article 19; Everyone has the right to

freedom of opinion and expression; this right includes freedom to hold opinions without

interference and to seek, receive and impart information and ideas through any media and

regardless of frontiers. Mr. Hall was denied his universal human rights to be present at a non

compos mentis hearing, to usurp his will and freedom of choice; to punish him for trying to make

defendant's apply laws that progress legally through separation of powers. U.S. v. Taylor, 21

F.4th 94, 100-101 n. 3 & 6 (2021). Former Unit 2 Manager, now Warden of Treatment, Michael

Keys at his 12/07/20 deposition, said: "I feel John Hall is more paranoid and has some

temperament issues that may that might need a little medication or something. But I don't think

John Hall doesn't comprehend. I think he does seem to know what he sees, what he hears, and

stuff like that." Page 166; and Key's said: "You say Freemasons; I've seen a lot of correctional

staff back in the day that were Masons. Lord of the Rings came to work here, displayed their

stuff. So a perception, military, a lot of ex-military people here. So I could see where he could

come from gaining that understanding. (D.E. 141 Exhibit 4; Page 167; Keys deposition). Federal

Rules of Evidence 601.

       It was decided in Hall v. Trump, Case No. 3:19-cv-0628, that these two cases were

related (Document No. 7, 9/03/19 Memorandum and Order; Page!D 195-198.) After a prolong

stay in solitary confinement, Stephen Hugueley committed suicide on July 16, 2021, Hugueley v.

Parker, No. 3:19-cv-00598; Document No. 119, PageID # 2128, 07/13/21; Mr. Hugueley's final

words to the Court, specifically grieved the following in part: "40 days had already passed in the

mediation process and there had been absolutely no discussion conceming the list of what I



                                                10
             Case: 23-5119      Document: 9         Filed: 07/14/2023    Page: 25



would settle for in lieu of an A-level." The foregoing letters reveals' S.R.V.H.'s position

regarding Hall's claims:

S.R.V.H. LETTER July 27, 2021; (Document 146, filed 03/16/23; PageID # 1678).

                      "This morning Judge Trauger issued an order appointed
              Brad Maclean guardian ad /item for you for the limited purpose of
              the upcoming mediation with T.D.O.C. in your case. Mr. Maclean
              is a long-time public defender an advocate for prisoners on death
              row. He currently serves as the vice president of the Tennessee
              Innocence Project, a program dedicated to exonerate innocent
              prisoners. He has served as a guardian for death row inmates in
              the past.
                       The appointment of Mr. Maclean came out of a conference
              called by Judge Trauger last Tuesday, which focused on the harm
              the state has perpetuated on you and on your mental health. In that
              coriference, we discussed Dr. Grassian 's findings, as well as the
              fact that the State is currently trying to get you additional mental
              health treatment (as we have discussed). Given your medical
              condition and the complexities and difficulties of navigating
               T.D. 0. C. policies and procedures, all of the parties (Le. mediator
              Joe Brown, the States Attorney's, and us) agreed it may be helpful
              to you to have an expert guardian like Mr. Maclean to assist you in
              navigating the upcoming settlement coriference and related issues.
                      Mr. Maclean will arrange to visit you as soon as possible
              to hear from you, identify your concerns and desires, and find a
              way to work with you to get you improved conditions, mental
              health treatment, and other relief at issue in this case. "


SRVH Letter January 26, 2023; (Document 146, filed 03/16/23; PageID # 1678).

                     "We have received several voicemails from you recently
              and have seen your various filings with the court. We wanted to
              write to clarify that our role as your appointed counsel is
              completed. "
                      "As you are aware, we began to represent you after Judge
              Trauger issued an order appointing us as your counsel to pursue a
              civil lawsuit about your solitary confinement. The order did not
              authorize us to participate in the defense or handling of your
              criminal case in any way. "
                     "Your case proceeded in tandem with Mr. Hugueley's case
              in which he was represented by Paul Davidson. Both cases sought


                                               11
              Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 26



               injunctive relief about the uses of solitary confinement, both cases
               expressly did not deal with the underlying criminal conviction.
               Unfortunately, Mr. Hugueley died before his case was resolved,
               and it was dismissed as moot. Your case has been concluded by a
               settlement agreement, and the court has found that the defendant's
               are in compliance with the settlement agreement. Thus, there are
               no further actions that we are authorized to take on your behalf"
                        "Thank you for taking the time to read this, and I hope it
               clarifies that there is nothing further we can do at this time. "


          THE DIFFERENT LETTERS SHOW TWO DIFFERENT POSITIONS

               The State said, "After an unsuccessful attempt at mediation, Harbison asked the

Court to appoint a Guardian for Plaintiff pursuant to Fed.R.Civ.P., Rule 17(C) "; citing: (D.E.

90). Mr. Hall was not present at any conference hearing. QUESTION where is the transcript, or

Hall's waiver of right to be heard? A nul tie! record = void? An observant reading of the (2)

contrasting letters as marked, exposes: (1) not only did Mr. Harbison mislead Hall (after the

fact; no notice or defense) to believe the appointment of Guardian Bradley Maclean, came out of

a conference called by Judge Trauger last Tuesday, was Judge Trauger's idea; and (2) Mr.

Harbison reasoned that Mr. Maclean's capacity as a public defender in capital cases, could be

helpful for Mr. Hall's desire in obtaining other relief, toward Hall's interrelated root claim of

actual legal innocence, originating from the void Madison County judgment, being imposed by

the court. The void judgment caused the illegal conditions of confinement in the first place,

dispite their insistence on the approving un-promulgated T.D.O.C. Policy 503.03, through the

U.A.P.A. that affected his ability to defend himself against these defendants in State Court.

       The second letter shows counsel's true plan: (1) that Mr. Harbison was not concerned

with Mr. Maclean's ability as a public defender to assist Mr. Hall in his capital case, Mr.

Harbison stated his role, had not authorized him to handle any issue related to the criminal case




                                                12
              Case: 23-5119       Document: 9       Filed: 07/14/2023     Page: 27



as an appointed attorney; and (2) the letter shows his role changed from one seeking declaratory

relief, before he had a Guardian appointed, to just seeking injunctive relief. The record shows:

Bill Harbison's amended complaint claimed "to seek a declaration that the defendant's conduct

violates 42 U.S.C.A. § 1983," and "seek injunctive relief as fashioned by this Court to address

Mr. Hall's psychological and medical needs," caused by prolong and indeterminate solitary

confinement. (D.E. 41-1; 4th Complaint; filed 3/20/20; PageID # 458-459, § 10). S.R.V.H.

Counsel did not stop defendant's from abusing T.D.O.C. policy 503.03, an un-promulgated

policy that provided the defendants with more oppo1iunities to continue to illegally discriminate

and punish the death row prisoners under solitary confinement conditions, in violation of the

Double Jeopardy principles. Lindsev v. Washington, 301 U.S. 397, 401, 57 S.Ct. 797, 799

(1937); (Constitution forbids applying new punitive measures to a crime already consummated.)

(D.E. 79 PageID # 829 - 833; Hall's double jeopardy argument). In short, the denial of Hall's

right to be present kept Hall silent, and without a voice to address his expressed grievances

regarding the prolong, unconstitutional conditions of confinement on Death Row. A condition

made possible only by officials unlawful acts exercised under T.D.O.C. policy 503.03. There is a

process offered by P.L.R.A. to oblige prisoners to participate, and direct the collective panel to

express Hall's grievances for consideration. 42 U.S.C.A. § 1997 § (I); T.C.A. § 16-1-105.

       On January, 16, 2021, Mr. Hugueley provided testimony about his fathers suicide in

1980, and the "keep on person" blood pressure medication he had in his cell while in segregation

on death row. (after documented hoarding incidences and suicide attempts). On July 13, 2021,

Mr. Hugueley submitted his "Plaintiffs Statement To The Court," laced with suicidal ideology

(Hugueley v. Parker, 3:19-cv-00598; D.E. # 119 PageID #2125 to 2172). This shows a lack of

consideration for Mr. Hugueley' s well being before he died. This should have been addressed



                                               13
              Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 28



after reading Hugueley's statement made to the district court. This information should have been

acted upon when they received this statement. The unelected officers of the court showed their

indifference by approving T.D.O.C. Policy 503.03 when they approved the policy itself in Hall's

settlement/ agreement. This covered up T.D.O.C.'s failure to promulgate Policy 503.03, through

the U.A.P.A. This policy allows T.D.O.C. to place inmates like Mr. Hugueley into solitary

confinement to cloud their rational and motivate them to commit suicide. Other developments

have occurred involving another mentally ill inmate, Henry Hodge, who cut off his Penis. See

Appendix Exhibit 1; Complaint; Hodge v. Lisa Helton, No. 22-1440-III, Davidson County

Tennessee Chancery Court, filed 10/28/22. (D.E. 132; Notice of Imminent Danger.) Dr.

Grassian's report about the psychiatric effects of solitary confinement. Supra page 6, 7.

       II.)    Was Sherrod, Roe, Voigt, and Harbison, (S.R.V.H.) unduly influenced by the

governor's appointment ofT.D.O.C. interim commissioner Lisa Helton?

       On March 25, 2022 Sherrod, Roe, Voigt & Harbison (S.R.V.H.) law Partner Bill

Harbison, filed a "Joint Motion to Dismiss & Retain Jurisdiction. Saying: "the parties reached a

settlement agreement listed as Exhibit A." Per its terms, the parties jointly moved the U.S.

District Court to dismiss this case." (D.E. 123, PageID 1321-25). Brad Maclean, in his capacity

as Hall's Guardian Ad Litem, S.R.V.H. Attorney, Lisa Helton, BOPR 023684, approved

T.D.O.C. Policy 503.03, despite Hall's grievance. Lisa Helton then signed the agreement

applying un-promulgated T.D.O.C. Policy 503.03 via U.A.P.A. (D.E. 123-1, PageID #@ 1330

and 1340.) Brad Maclean's agreement effectively extinguished Hall's declaratory judgment

interest against an illegal policy to remove Hall's argument over a second punishment for a

criminal offense. (D.E. 79, PageID # 629-633.) Lisa Belton's self-dealt benefits for herself and

the defendant's. (D,E. 146 PageID 1679. Gov. Lee Announces Salary Increase for Tennessee



                                                14
              Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 29



Correctional Offices. "This salary increase makes our agency more competitive in attracting new

talent and is a well-deserved raise for those currently serving our state.") (D.E. 30, § 13, PageID

# 351; ie. Judge's comment about S.R.V.H.'s incentive package for everyone including

prisoners). Lisa Helton, BOPR # 023684, works for both the S.R.V.H. law firm, under Bill

Harbison, and should not have been aligned with Tennessee Board of Probation and Paroles, in

violation of Tennessee Supreme Court Rule 8, ABA Rule 1. 7. Lisa Helton has a Master's

Degree from Vanderbilt school of law, and was appointed interim Commissioner for Tennessee

Department of Conections, during the pendency of Mr. Hall's lawsuit. This concmTent

representation of conflicting interest, shows that Mr. Hall's claims over the abuse of Executive

Powers, by the State Government carries significant weight. The service of truth and justice in

this matter cannot help but cause reputational injury by the alignment of Bill Harbison,

prosecuting this case, and Lisa Helton, representing defendants. U.S. v. Dyess, 291 F.Supp.2d

493, 497 (2002); "The service of truth and justice to the defendants, and the appearance of

impropriety motivates decision." S.R.V.H. law firm was unduly influenced by conflicting

interest, i.e. double self-dealing agents in state contracts, selling out Mr. Hall's declaratory

judgment interests, outside the scope of legislation, to allow the State to apply a void

classification "rule," and impose illegal punishment(s). Chrysler Corp., 99 S.Ct. 1705, 1721

(1979); T.C.A. § 40-34-103(c); No first-degree murder is eligible for contract sentencing. T.C.A.

§ 40-34-105 (b). S.R.V.H. and Lisa Helton's joint representation [working both sides of the

lawsuit], shines the light on Vanderbilt's adjunct professor, Mr. Brad Maclean's self-dealing dual

role; creating future personal and financially interested terms built into Halls settlement

agreement, and a life time job Guardianship, by making Hall a ward of the State. For Seniors

Help v. Westchester Fire Insurance Co., 515 F.Supp.3d 787, 801 (M.D. Tn. 2021.)




                                                15
              Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 30



        III.) Was it proper for Mr, Hall's counsel to make an agreement that allowed the

T.D.O.C, to deny all claims with no admission of liability?


        What must be taken into consideration is simply that there is more than one Current

T,D,0.C. Policy 503.03. In fact there are a total of 4 Policies listed as 503.03. They all deal with

the same information. The degree of difference between the policies changes consist of altering

the amount of time an inmate is allowed out of their cell and/ or the duration of the time required

to be placed in administrative solitary confinement, and highlights a suspicious circumstance.

        The changes made in each policy shows that T.D.O.C.'s position keeps changing to

different policy 503.03's, were placed in the record for the comis adjudication. (I) Attached to

the settlement agreement there are two policies 503.03's. The first policy is dated March 15,

2018, approved by Commissioner Tony Parker. (D.E. 123-1, PageID 1333 to 1339.) The second

policy is dated February 1, 2022, approved and signed by Interim Commissioner Lisa Helton.

(D.E. 123-1, PageID 1340 to 1349.) (2) The third policy 503.03 was signed and approved by

Tony Parker, dated March 15, 2018 and contains different time matrixes regarding out of cell

time for Death Row inmates who are Levels B's and C's. It was entered into Mr. Hugueley's

case in Hugueley v. Parker et.al., 3:19-cv-00598 and listed at (D.E. 60, PageID 750 to 757). (3)

The fourth policy 503.03 is in actuality the Riverbend version or Wardens Policy listed as

503.03-1 created and signed by warden Tony Mayes. This policy entered at (D.E. 126, Page!D

1413 § 32. It is dated March 1, 2019. This policy overrides the Commissioners policy and

changes the time matrix for recreation from two (2) hours listed in the commissioner's policy to

one (1) hour. It changes the time matrix concerning the release eligibility dates in order to be

released from solitary confinement. In this light, the "Joint Motion to Dismiss and Retain

Jurisdiction," is not based upon the merits of Hall's claims, nor is it based on the adoption of the



                                                16
             Case: 23-5119        Document: 9        Filed: 07/14/2023     Page: 31



several T.D.O.C. Policy's 503.03. It violates the separation of powers when quasi policy makers

make rules without first being promulgated through the U.A.P.A., and approved by unelected and

untrained officials. (D.E. 123-1, PageID 1326). Greason, 891 F.2d.@838 n. 20.

       Moreover, the disproportionate money settlement is a suspicious circumstance, and a

factor to consider, whether the "attorney fraudulently pretended to represent a party and connives

at his defeat, or sells out his client's interest; Nobes v. Ear/tart, 769 S. W.2d@ 874 (Tn.App.

1988); Seniors Help v. Westchester Fire Insurance Co., 515 F.Supp.3d 787, 801 (M.D. Tn.

2021.) In any action brought by a prisoner who is confined to any jail, prison, or other

correctional facility, in which attorney's fees are authorized under section 2 of the Revised

Statutes of the United States (42 U.S.C.A. § 1988) such fees shall not be awarded except to the

extent that; (A) the fee was directly and reasonable incurred in providing an actual violation of

the plaintiffs rights protected by a statute pursuant to which a fee may be awarded under section

2 of the Revised Statutes; (B)(i) the amount of the fee is proportionately related to the court

ordered relief for the violation; (ii) the fee was directly and reasonably incmTed in enforcing the

relief ordered for the violation. (2) Whenever a monetary judgment is awarded in an action

described in paragraph (1 ), a p01iion of the judgment (not to exceed 25 percent) shall be applied

to satisfy the amount of attorney's fees awarded against the defendant. It is made quite clear

from the settlement conditions; (D.E. 123-1, PageID # 1328 § II. § 12), that Brad MacClean,

S.R.V.H. attorneys and Lisa Helton made, a lucrative settlement for two hundred, twenty five

thousand ($225,000) dollars for attorney fees and was justly earned when Mr. Hall, the prisoner,

who's constitutional rights were violated only received a settlement of three thousand ($3,000)

dollars, as approved by the comi. It doesn't take a mathematician to see that the twenty-five

(25%) percent allowed by the P.L.R.A. has been grossly abused.



                                                17
              Case: 23-5119      Document: 9        Filed: 07/14/2023    Page: 32



        This is a conditions of confinement case, and both Mr. Hall and Mr. Hugueley,

personally tried to advance a liability case, but the standard is not whether there is something

easy that the policy-makers, with the benefit of hindsight, could have done. It is whether they

knew that their nonperformance duty in evaluating the circumstances of this situation, when

reviewing an unauthorized T.D. 0. C. Policy 503. 03, and utter disregard of an excessive risk

imposed on other death row prisoner's health and safety. Mr. Hall was specifically grieving;

Farmer v. Brennan, 511 U.S. 825, 837, 114 S.Ct. 1970, 1983 (1994); Burns v. Robertson

Countv, 192 F.Supp.3d 909, 921 HN # 10 (M.D. Tenn, 2016.) The mental illness objective and

subjective components show a deliberate indifference. ("Hodge has never made a level in 22

years I have been on death row. He suffered the most adverse unnecessary and wanton neglect,

deprival's and mistreatment I have seen on death row. It is a miracle he has not committed

suicide.") (D.E. 1, PageID # 25, § 71; Re: Henry Hodge); This is what happens after many years

when an individual suffers from the extreme isolation of solitaty confinement. (D.E. 132). There

is no "objective evidence - based individual assessment of the initial need and regular review by

use of a multidisciplinary teatn." (D.E. 146 PageID # 1695.); Friedman, 573 F.Supp. 3d 1221,

1230-31 n. 7 (M.D. Tn. 2021); Hardy, 618 F.Supp. 3d 671, 692-93 Hn. 10 (M.D. Tn. 2022).

       IV.)   T.D.O.C. Policy 503.03 was improperly adopted by the Department of

Corrections and illegitimately approved by the quasi "Policy Makers?"

       The question offered for review was presented 07/24/19: (D.E. 1-9; PageID # 97-102).

That is; was T.D.O.C. policy 503.03 rules improperly adopted and void ab initio? The appellant

says; "Yes T.D.O.C. Policy 503.03 (Death Row level program) was improperly adopted, and

should have been promulgated through the U.A.P.A., under T.C.A. §§ 41-1-108; and          41-21-

818. And "yes," T.D.O.C. Policy 503.03 is void ab initio, because it was not viewed by the



                                               18
             Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 33



checks and balances. of the U.A.P.A., making the "rules" void under T.C.A. § 4-5-216;

Furthermore, the rules could not be used to create a death row contract sentencing agreement.

T.C.A. § 40-34-103 (c); T.C.A. § 40-34-105. This is outside the scope of Tennessee's legislative

authority. Chrysler Corp. v. Brown, 441 U.S. 281,308, 99 S.Ct. 1705, 1721 (1979); (D.E. #144.)

                                      CLASSIFICATION

       The function of classification process is to determine each inmate's security level, the

institution to which he will be assigned, and the employment, educational or vocational program

in which he should patiicipate. It is undisputed that a competent classification system is very

impmiant to the operation of prison system, and should identify medical, psychological,

vocational and educational needs of inmates, as well as insuring the separation of violence prone

inmates from the potential victims and enabling closer supervision of higher escape risk inmates.

Grubbs. 552 F.Supp. 1052, 1060 (M.D. Tn. 1982). Tennessee statutes governing classification

are mandatory. The Tennessee statute states: "The prisoners shall be graded and classified in

such manner as shall be most conducive to prison discipline and the moral status of the prisoner."

T.C.A § 41-21-202.

       Individuals assigned to Death Row, are housed based entirely on their sentences and,

rather than undergoing normal classification procedure, they are automatically assigned the most

restrictive classification, "mandatory segregation." That classification is changed to a less

restrictive classification when the sentence of death is lifted. Although some death sentenced

inmates have been classified, that classification has had no impact on their treatment while on

death row. Groseclose v. Dutton, 609 F.Supp. 1432, 1436 (Tenn. 1985). NOTE: The mandatory

segregation is not based on statutory law; it is based solely on "rules," under T.D. O. C. Policy

503.03. T.D.O.C. policy 503.03 governs regulations regarding Tennessee's death row, and lets a


                                               19
             Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 34



prisoner's classification to be overridden under T.D.O.C. Policy 401.08, VI. F. 1, g1vmg

T.D.O.C. staff unbridled discretion to stigmatize and selectively punish the mentally ill, with

prolong restrictive housing, a policy that does not apply to rest of the entire prison population.

Occupv Nashville v. Haslam, 949 F.Supp.2d 777, 794-95, & 803 (Tn. 2013). The level system

program was originally adopted for death row as a remedy for solitary confinement, however,

T.D.O.C. turned it into an Ex Post Facto form of another type of solitary confinement to punish

death row prisoners, under T.D.O.C. policy 503,03. (Counselor Wan-en Tate's 02/12/21

deposition at page 60) (Purpose of a C-level is to punish for disciplinary offenses) (D.E. 134,

PagelD # 1510 § 29; Wan-en Tate's undisputed admission). Reid v. Lee, 597 F.Supp.3d 1177,

1180-81 (M.D. Tn. 2022). The Ex-Post Facto civil regulatory scheme is supposed to be non-

punitive. Groseclose, 609 F.Supp. 1432, 1448 (Tn. 1985); (Death row plan, signed by Attorney

General 9/30/85, in accord to T.C.A. § 4-5-211). This remedial plan rescinded by the Co\ll't.

Groseclose II, 788 F2d. 351,361 (611' Cir. 1986); Grubbs, 821 F.Supp. 496, 504-05 (Tn. 1993).

       Judge Trauger granted pro se death row inmate, Henry Jones, authority to litigate changes

to policy without expert help. Henrv Jones v, Mavs, No: 3:21-cv-00666; 2022 WL 3651964,@

*JO. (August 24, 2023.) Hall's case reveals that S.R.V.H. squandered judicial resources and

wasted a perfect opportunity to make legitimate changes to policy 503.03, as per findings of

Con-ections Expert Martin Horn. (D.E. 146 PagelD# 1697-98; Objective Factors).

       (a) T.D.O.C. policy 503.03 (level program) oven-ides prisoner's statutmy right to: T.C.A.

§ 41-21-402 (classification), using T.D.O.C. Policy 401.08 VL (F)(I); (D.E. 1-9; PagelD 100,

101); Giving T.D.O.C. policy 503.03, unbridled discretion to determine prisoner's custody status,

overriding an inmates "objective foundation" for dete1mining custody levels. This policy is not

an effective substitution to protect prisoners right, to be free from enhanced punishment more



                                               20
              Case: 23-5119       Document: 9        Filed: 07/14/2023     Page: 35



than (30) days, T.C.A. § 41-21-402; a legislative right to be graded and classified involves more

than internal management of a prison. Inmate's classification affects how prolong his stay in

administrative/ punitive solitary confinement." Ultimately affecting quality of both the prisoner's

or loved ones liberty to pursue happiness, e.g. religious volunteers, family, friends and lawyer's

visitation rights, ·as guaranteed by preamble; and right to petition Government to redress legality

of classification procedures affecting the public through the U.A.P.A. Kelly v. Brewer, 378

F.Supp. @451 n.12 (1974) (D.E. 9-1, PageID 231-232; 245-250); (b) Classification procedures

serve a distinctly different purpose than disciplinary matters. See: "Classification," on supra page

19, as stated in Grubbs. 552 F.Supp. 1052, 1060-61 (MD Tn. 1982); (classification procedures

only takes six weeks; not a year as in policy 503.03). Thus, classification cannot be overridden

by adoption of rules, because this procedure is not specifically exempt from the U.A.P.A.

rulemaking promulgation under T.C.A. § 4-5-106(b). Mandela v. Campbell, 978 SW2d 531, 532,

n. 2 (Tn. 1998); (applying U.A.P.A. 's "rule" definition, specifically excluding "[s]tatements

concerning only internal management of state government, and not affecting private rights,

privileges or procedures available to public. T.C.A. § 4-5-102(10)(A). (c) The question for

review in Mandela, is "whether T.D.O.C.'s Uniform Disciplinary Procedure constitutes "rules"

under the (" U.A.P.A. '~ Is off-point of the question here, addressing classification matters, for

several reasons. First, the purpose for classification matters is distinctly different from

punishment, as shown in Grubbs; and (affects innmtes and visitor's fundamental rights, and not

just internal management. Prisoner's are members of the public for census matters.) Massey v.

Secretary, Dep't of Public Safety and Correctional Services, 389 Md. 496, 523-24, 886 A.2d

585, 601-02 (Md. 2005) (Prison "rules" directly affect sentence and not just internal

management. Tennessee case Mandela, is not persuasive); and Hampton v. Dep't. of




                                                21
              Case: 23-5119       Document: 9         Filed: 07/14/2023      Page: 36



Corrections, 336 N.J. 520, 527-530, 765 A.2d 286, 289-90 (N.J. A.D. 2001) (Classification must

be promulgated pursuant to U.A.P,A.); Martin v. v. Dep't of Corrections, 424 Miclt. 553, 562-

65, 384 N. W.2d 392 (1986). Second, the statutory process for classification matters (T.C.A, § 41-

21-202), is overridden by the employment of T.D.O.C. Policy 401.08 VJ, (F) and (D.E. 126, 43);

"it affects the fundamental rights and privileges of the public. Finally, classification is more than

justinternal management a/Government." (D.E. 126, Page!D # 1415-1417, § 41-49.)

        The Tennessee Department of Corrections, Commissioner, is an administrative agent

illegally adopting policy in the exercise of its commingled legislative, executive, and judicial

functions. Rulemaking is part of his legislative functions that has been delegated to the his

authority under the pretext of necessity of making policy under T. C.A. § 4-3-606; T. C.A. § 41-1-

108; and T.C.A. § 41-21-818. "The Constitution of Tennessee provides clear boundaries of (3)

three branches of government and directs each branch not to USU!]) the prerogatives of the

others." Tn. Cable TVv Tn. Public Serv. Comm'n. 844 SW2d @168 (Tn, 1992).

       Although it is true, the T.D.O.C. has the authority to make policy T.C.A, § 4-3-603 and

T.C.A. § 4-3-606; and court's often yield to prison administrators on the subject of "policies and

practices" needed "to maintain institutional security. J.H., 951 F.3d at 718 (quoting Bell 441

U.S. at 547). But "this deference has its limits." Id., see: Gotti, 755 F.Supp. at 1164 (citation and

quotation omitted); Wltitnev v. Brown, 882 F.2d 1068, 1074 (6th Cir, 1989) ("[P]rison

authorities officials do not set constitutional standards by fiat."). The citizens of Tennessee elect

the legislature and as an elected body, it speaks for the people on matters of public policy.

UNELECTED officers of a department cannot adopt rules to circumvent STATUTES by the

legislature." Dep't of Mental Health v Allison, 833 S. W.2d 82, 85 (1982).




                                                 22
              Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 37



       Its undisputed material fact that T.D.O.C. policy 503.03, was not promulgated through

the U.A.P.A. and VOID. T.C.A. § 4-5-216. COMPARE: Tony Parker's 10/27/20 Deposition,

page 34: Question: "Is there anyone above you who then has to fmih_er approve the policy "

Answer: "I'm the last link in the chain, yes." "Particular rules may not be effective until rule has

been filed with the attorney general and reporter." (D.E. 126, PageID #1416 § 44.); T.C.A. § 4-5-

211, citing Cosby, 2005 WL 2217072, at* 2, 11. 5 (T11.App. 9/15/05). CITED: Occupy Nashville

v. Bill Haslam, 949 F.Supp.2d 777, 794 (M.D. Te1111. 2013). (Authority to make rules - Selective

prosecution id. @ 803). Classification rules affect Mr. Hall's fundamental rights and privileges to

visit with the public. Both prisoner's and visitor's are members of the public. Defendant Tony

Parker admitted he was the last link in the chain, for promulgation of T.D.O.C. classification

rules. Thus failing to get "rules" promulgated through U.A.P.A., without regard to the written

laws. Unit 2 Counselor Warren Tate admitted T.D.O.C. Policy 503.03, was applied as

punishment, in violation of T.C.A. § 41-21-402. See: (D.E. 134, PageID 1510, § 27-30.)

       Courts have jurisdiction to review procedural issues no matter whether the Commissioner

is engaged in rulemaking, enforcement, or adjudication. He must comply with all statutes and

constitutional provisions governing procedures. A court may review any rule to decide whether

the Commissioner has authority to promulgate, enforce, or adjudicate it, and whether he

complied with all relevant statutory requirements in doing so. T11. Cable TV v. T11. Public Serv.

Comm'11, 844 SW2d 151, 163-65 (T11.App. 1992) (Court may vacate agency's decision when

agency procedures violates statutmy provisions or is unlawful. T.C.A. § 4-5-322 (h)(l, 3, & 4)).

Here the problem is, the lower court failed to analyze this point.

       V. Is Mr. Hall likely to succeed on the merits of his case?




                                                23
                  Case: 23-5119           Document: 9          Filed: 07/14/2023          Page: 38



            The "Joint.Motion to Dismiss and Retain Jurisdiction," (D.E. 123, PageID # 1321-1325),

is not based upon the merits of the plaintiff's claims, nor based on a reasonable inquiry and

understanding of the true nature of the contents of the agreement. (D.E. 123-1, PageID # 1326-

    1332); and (D.E. 123-1, PageID # 1340-1349). Hall submits that U.A.P.A. cannot adqpt

unbridled discretion without objective factors, it discriminates. Stephen Hugueley won summary

judgment, Hall should be entitled to associational standing Children Health Defense v. Food

and Drug Administration, 573 F.Supp. 3d. 1224, 1241 (E.D. Tn. 2020); (Standing (I) its

members would have standing to sue in their own right. (2) The interests that the suit seeks to

protect are germane to the organizations own purpose, neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit.) In short, Mr. Hall was

similarly situated to Mr. Hugueley in his own right for summary judgment purposes.

           In an analogous case of unconstitutional punishment, defendant's claimed the plaintiffs

conditions of confinement, were not punitive. 1

                            "Courts need not rubber stamp prison policies if the record
                    indicates they are excessive relative to theoretical security
                    concerns. Bell, 441 U.S. at 562; Flagner, 241 F.3d at 483;
                    Whitney. 882 F.2d 1078; Bout, 860 F.Supp.2d at 311 ("Although
                    I recognize that courts loathe to interfere with questions of prison
                    administration... I cannot shirk my duty under the Constitution... to
                    ensure that Bout's confinement is not arbitrarily harsh."). That is
                    exactly what the record indicates here.; See also Fn. 1.
Friedman v. Parker. 573 F.Supp. 3d 1221, 1230-31 n. 7 (M.D. Tn. 2021).

           The gist of Mr. Hall's case represents the same failure in Friedman to classify an inmate

in accordance to the mandatory classification statutes, leads to selective prosecution and

discrimination by the inept miscalculation of "objective factors, " necessary to determine the
1
    The defendant's contradicted the position "offered in their brief regarding the security concerns presented by Mr.
    Friedman. Defendant Williams wrote to Mr. Friedman that if she had to classify you, you would be a "2" on the
    "CAF" which corresponds with a "Minimum Security Classification." Id. @ 2.



                                                          24
               Case: 23-5119       Document: 9       Filed: 07/14/2023     Page: 39



same cause to hold prisoner in solitary confinement; Occupy Nashville v Haslim, 949 F.Supp.

2d.@ 803 (M.D. Tenn. 2013). Compare for example the prolonged duration oftime a death row

prisoner was required to serve in administrative solitary confinement, verses the time that is

served is served by female prisoners in open population. In short, when normal population get

punished, their time in involuntary segregation is significantly less than inmates on death row

who are governed under T.D.O.C. policy 503.03; Hardy v. Fisher. 618 F.Supp.3d. 671, 692,-94,

Head note JO & 11 (M.D. Tenn. 2022). Death row rules selectively enhances the mentally ill

inmates duration of punishment administered under solitary confinement conditions, causing the

Physical and Mental harm to the death row prisoners. Solitary Confinement manifested public

interest after the realization of the harm caused by the psychiatric effects caused by the Covid 19

pandemic. Farmer v. Brennan. 511 U.S. 825,837,114 S.Ct. 1970, 1983 (1994).

         Mr. Hall had   aprotected liberty interest in being released from administrative solitary
confinement, once his security classification points were below the required security

classification point system objective factors as shown in Friedman. Sandin v Conner. 515 U.S.

472, 484, 115 S.Ct, 2293, 2300 (1995). (When prison officials subject prisoners to atypical and

significant hardship ... in relation to ordinary incidents of prison life, they must observe due

process safeguards.); Mackey v. Dyke. 111 F.3d. 460, 462 (6"' Cir. 1997). (No longer qualified

for segregation, based upon the objective factors related to security classification. As

demonstrated by the determination in the ruling made in the Alexander Friedmann case.)

Eve1yone realized Hall would not agree to discriminatory sham reviews by T.D. 0. C. policy

503.03, as a substitute "rule" for statutory classification. (D.E. 1-9, PageID JOO: Offered on

07/24/19). 2 The parties focused on Hall's beliefs instead of the substance of his complaint that


2
    The record in Mr. Hall's case shows he scored a level of 5, on T.D.0.C. / ("CAF") offender


                                                25
             Case: 23-5119       Document: 9         Filed: 07/14/2023     Page: 40



proved that he should not have been in solitary confinement, a double punishment for the amount

of time he was locked up. (D.E. 146 PageID #1697-98; Martin Horns Expert Report Conclusion).

       VI. Was Hall unduly injured by Lisa Helton's selection as interim Commissioner?

       The Governor Bill Lee (Hall's pro se named defendant; D.E. 1, PageID # 7, § 10)

interfered in Mr. Hall's business relations with S.R.V.H., with an advantage, by appointing

S.R.V.H.'s attorney, Lisa Helton, as T.D.O.C.'s Commissioner, to contract for him in this case.

S.R.V.H. law firm patiner and attorney, Mr. Bill Harbison (the "H" in S.R.V.H.), Mr. Hall's

appointed counsel, was influenced by a lucrative contract, signed by his employee Lisa Helton,

or her relative named Lisa Helton that benefited themselves as Hall's attorney in the sum of $

225,000.00 for settling this case, over Hall's objection, for$ 3000.00, in violation of the P.L.R.A.

act without having to go to trial. Lisa Helton, as acting Commissioner, was self-dealing herself a

raise as both a Tennessee Board of Probation and Paroles agent, and as interim Commissioner,

and fashioned a beneficial contract for T.D.O.C. Defendant's, in the form of a salary increase

statewide. (D.E. 146 filed 03/16/2023; PageID # 1679.) Gardner v. Parsons, 874 F.2d. 131, 140

(1989). (Abuse of Authority - Dual representation caused personal and third patiy liabilities.)

       It is an undisputed fact, that Lisa Helton works for S.R.V.H. and the Governor, and all the

parties approved contracts that benefitted themselves. S.R.V.H. had exclusive control over both

sides of the case. (D.E. 126; PageID # 1414 § 39.) (D.E. 134, PageID # 1506 § 8). The S.R.V.H.

law firm had a fiduciary duty with Mr. Hall to deal with his personal rights and propetiy in the


 Summary, and corresponds with a 'minimum' security classification," and continues at Level C,
 due to 'OVERRIDE.' (D.E. 1-9 PageID # 100-101; "CAF" score 5; override C-level). See also:
 Hugueley v. Parker, 3:19-cv-00598 2020 WL 4753845 * 1, *3, (MD Tn. 08/17120) ("the most
 restrictive form of incarceration on death row;" Hugueley file [Doc. 60@ 33, 34 ,r,r 40-41;
 Doc. # 21-8)); (D.E. 1, Page ID # 21, § 57; Hall's sworn complaint, began C level starting
 October 22, 2013.)


                                                26
              Case: 23-5119      Document: 9        Filed: 07/14/2023     Page: 41



good faith. The superior bargaining power of the Governor, on behalf of the defendant's, was

created by concurrent conflicts of interest. S .R. V .H. agents formed an unconscionable agreement

to make policy for the Governor that dodged the checks and balances of U.A.P.A. Act. The

disproportionate money settlement is a suspicious circumstance, and a factor to consider,

whether the "attorney fraudulently pretended to represent a party and connives at his defeat, or

sells out his client's interest." Nobes v. Earhart. 769 SW2d 868, 872 (Tn.App. 1988). Here, the

agreement was not a voluntary agreement under the terms at play in this situation, where

everyone is a lawmaker, without having to be elected. The presumption of undue influence, arose

from Lisa Helton's settling Hall's claim out-of-court, for S.R.V.H. boss Mr. Harbison, and her

T.D.O.C. boss, Governor Bill Lee. Lisa Helton also awarded Hall's court appointed Guardian,

Brad Maclean, a lifetime contract for his services, to assist Hall a competent prisoner, for his

own conflicting financial self-interest, by usurping Hall's free will that deprived him of the

oppo1tunity to make his own agreement, or go to trial. Ellis v. Duggan, 644 S.W.3d 85, 114-15

(Tn.App. 2021); (The dominant rule in confidential relationships, followed by transaction

wherein the dominant party receives a benefit from the other party). Here, S.R.V.H. approved

T.D.O.C. policy 503.03, as part of the terms of the settlement agreement, over Hall's objection.

This policy governs the regulations regarding Tennessee's death row, giving T.D.O.C. staff

unbridled discretion to stigmatize and selectively punish mentally ill prisoners with prolong

restrictive housing. Damage was caused to Mr. Hall's best interest claim, when they dismissed

his declatory rights claim.

       The danger incurred by a departments legislative overreaching, is that the "rule" may

grant, or preclude a person from enjoying the exercise of certain rights and privileges. Occupy




                                               27
              Case: 23-5119       Document: 9        Filed: 07/14/2023      Page: 42



Nashville v. Haslam, 949 F.Supp.2d 777, 794-95, & 803 (Tn. 2013). Death row "rules" enhance

the punishment applied to a narrow group to selectively increase the quantum of punishment.

        An unteliable, arbitrary, and capricious procedure that targets only death row inmates,

and generates sham reviews, based upon nothing more than mental health profiling speculation,

and personal bias, rather than expressed uniform standards of conduct violates due process.

McClarv v. Kelly. 87 F.Supp.2d 205, 214 (2000). The target of the death row "rules" were

originally designed as a remedial plan, but T.D.0.C. turned it into a criminal penalty for death

row prisoners. The Court subsequently rescinded this remedial plan. Groseclose 11 788 F2d 356;

Grubbs v. Bradley, 821 F.Supp. 496, 504-05 (Tn. 1993). This so-called reclassification, or

oven-ide, is specifically forbidden under the Ex Post Facto clause, and precludes the application

of punishment for a crime already consummated. Lindsey v. Washington, 301 U.S. 397, 397,

401, 57 S.Ct. 797, 799 (1937)

                                                Conclusion

       T.D.O.C. Policy and Procedure 503.03 allows death row inmates security levels [CAF

scores] to be an automatic "Override" to maximum security because of their sentence alone. In

Death Row terms, A-Level, B-Level, or C-Level ratings are arbitrarily determined by the

administration. Allowing this practice to continue gives rise to excessive solitary confinement

restrictions placed on inmates guilty of petty status disciplinary offenses. The officials unbridled

discretion under unjustifiable standards affects death row inmates who have not been convicted a

disciplinary infraction, only because they are new arrivals on death row, awaiting classification.

       Mr. Hall is imprisoned under unconstitutional, jurisdictional violations concerning a void

Judgment from Madison County, Tennessee in case number 96-589. Venue was changed by the

trial court and approved by the State, over the objections of Mr. Hall, for the sole benefit to


                                                28
             Case: 23-5119       Document: 9       Filed: 07/14/2023     Page: 43



shorten their commute to court from their respective homes and offices. The record is facially

void without change of venue affidavits required by Tennessee Statutory Laws and Rules of

Court. Mr. Hall committed no crime in Madison County, Tennessee. There are two (2)

distinctive and inconsistent opinions regarding Tenn,Crim.P. Rule 18; Tenn.Crim.P. Rule 21;

and Tennessee Constitution Article 1, § 9 under unpublished rules of the Supreme Court, as

misapplied by T.C.A, § 16-3-405; State v. Nichols, 877 S.W.2d. 722, 728 (1994). Two

inconsistent opinions regarding venue cannot both be true; Cone v. Bell, 492 F.3d. @ 766, 129

S.Ct. @ 1779 (2009). The State has continually failed to produce venue affidavits because no

affidavits were sought in this case. This shows proof beyond a reasonable doubt that Hall's trial

record is void due to lack of Subject Matter Jurisdiction. The Government cannot demonstrate

that it has tlu·ee (3) valid, venue change affidavits, showing "cause" to give Henderson County

Circuit Court the authority to change venue of the trial proceedings to Madison County. (D.E.

141 pages 8-17 § 25-63; outcome test.) Now that this Honorable Court has been made aware of

how Mr. Hall was placed in the Tennessee Department of Coll'ections, Mr. Hall would submit

that he has suffered a "Double Punislunent Standard," due to the T.D.O.C. policies and

procedures dictating his confinement, specifically un-promulgated policy 503.03, that Bradley

MacLean and Lisa Helton rubber-stamped as a settlement agreement. This agreement has

become a sentencing agreement by the collective bargaining agreement made between Mr. Halls

guardian and the State of Tennessee. Thus the agreement violates of T.C.A. § 40-34-103(c)

" ... No offender who has been convicted as an habitual offender or has been convicted of a crime

against the person, no offender who has been convicted offirst-degree murder, and no offender

who has been convicted of a sexual offense as contained in T.C.A. § 39-13-501; T.C.A.§ 39-13-

506; T.C.A. § 39-13-507; T.C.A. § 39-13-101 and T.C.A. § 39-12-101 shall be eligible to




                                              29
                  Case: 23-5119        Document: 9       Filed: 07/14/2023      Page: 44



    participate in the contract sentencing program authorized by this subsection (c);" T.C.A, § 40-
(
    34-105; In re Medlev, 134 U.S. 160,174 (1890). (Misapplication of Ex Post Facto Laws.)


            T.D.O.C. policy 503.03 death row "rules" alters and amends the measure of punishment

    prescribed by the T.D.O.C. uniform disciplinary procedures policy by overlooking the "objective

    foundation," applied as the method to identify the security related concerns that govern the rest

    of the prison population. The "CAF" [classification] score is determined in a yearly review for

    inmates without disciplinary infractions. It is the findings and recommendations of the

    Disciplinary Board, chairperson, the disciplinary offense committed, and the "CAF" ratings for

    minimum, medium, or maximum security, that adjusts the "CAF" scores fOl' population inmates.

    (D.E. 1, PagelD # 34 § 95 (07-24-19.) In Harmelin v. Michigan, 501 U.S. 957, 973-976, (1991),

    it was determined that t he Eighth 8th Amendment claim against cruel and unusual punishment

    was meant to forbid "unauthorized punishrnent(s)."

           It's undisputed the "Settlement agreement" made without Mr. HalPs signature is void.


           WHEREFORE, Hall is entitled to judgment as a matter of law. As a human being, he

    should be treated fairly and his freedom restored. If the court believes that Hall is incompetent

    and does not understand, then conduct an outcome test (D.E. 141 Pages 8-17, § 25, 34, and 42),

    under published laws: (1) T.C.A. § 29-21-104; T.C.A. § 16-3-405; and (2) T.C.A. § 4-5-211

    (Attomey General Signature) on T.D.O.C. Policy 503.03. Mr. Hall's freedom is the correct

    remedy. Mr. Hall wants this case sent back to the lower court to obtain the relief he requested.

           Respectfully Submitted,

                     1          7-/2~Z1
           Jon Hall #2389 41
           R.MlS.I. Unit 2 A-204
           7475 Cockrill Bend B lvd.
           Nashville, Tennessee 37209-1048


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Case: 23-5119   Document: 9   Filed: 07/14/2023   Page: 45
                  Case: 23-5119     Document: 9      Filed: 07/14/2023   Page: 46



              IN THE CHANCERY COURT OF DAVIDSO:N COUNTY; TENNESSEE
    HENBY HODGES;                                    )
                                                     )
                  Plaintiff,                         )     No, c9-!)~ /YJ+ti;,T/]
                                                     )     Death Penalty Case
                                                     )
    v.                                               )
                                                     )
                                                     )                                ,-,
    LISA HELTON, in her official capacity            )                                ;.:;
                                                                                      ....
                                                                                         ~

    as Tennessee's Interim Comtnis.sfone1:           )                                c~
                                                                                      i:,'J
    of Correction,                                   )                                 -4      •
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                                                     )                                 co      i
    Dr. KENNETHWILLIAMS, in his                      )                                             :. ·. '\"
    official capacity as Asst. Commission13r         )                                              .. ,..}
    of Clinical Services, Chief MeJ:lical Office1·   )
    Tennessee Department of Correction,              )
                                                     )
                   Defendants.                       )


                                           COMPLAINT
I
         I.     Introduction

         Henry Hodges i:s a human being. He is an adult survivor of a childhood

    abducti:on and .rape. He is a person who live.s with mental illnei,s which results in

    episode-s ·of severe psychosis. Defendants know this. Despite this knowledge,

    Defendants and their agents have engaged in a course of conduct which exacerbated

    his mentfl.l illness ultimately resulting Mr. Hodges severing his penis from his body

    with a razor blade.

         Currently, Defendants have Mr. Hodges strapped to a concrete slab, naked. As a

    result ofDe.fendants intentional actions, Mr. Hodges is suffer.ing severe pain,

    numbness, nerve damage, and extreme psychological distress. Defenda)lts' actions


                           .APPENDIX EX:HtBT1 1
. i                   Case: 23-5119       Document: 9         Filed: 07/14/2023     Page: 47




      constitute torture.
            Mr. Hodges files this complaint seeking declaratory and equitable relief.

      Defendants' actions are deliberately indifferent to Mr. Hodges right to medical and

      mental health treatment. Defendants' actions, and those of their agents acting

      under their direction, violate Mr. Hodges rights under the Tennessee Constitution

      Article 1, §§ 2, 8, 16, 17, 32; Article VI, § 2 of the United States Constitution: the

      Eighth, and Fourteenth Amendments to the United States Constitution; 42 U.S.C. §

      198.3, and state and federal law as set forth beiow.1

            II.      Venue and Jurisdiction

      1.          Venue is proper in this Court because Plaintiff is incarcerated at Riverbend

      Maximum Security Institution (RMSI), in this county; each of Defendants actions which

      constitute the deprivation of Plaintiff's rights under the United States and Tennessee

      Constitutions and the Tennessee Code have taken place in this county. Accordingly, the

      events giving rise to this Complaint have occurred and will occur in this ·county.

      2.          This action arises under Tennessee Constitution Article 1, §§ 2, 8, 16, 17, 32 and

      Article VI, § 2 of the United States Constitution and the Eighth and Fourteenth

      Amendments to the United States Constitution, 42 U.S.C. § 1983, and state and federal law
      as set forth below.

      3.          This Court has jurisdiction pursuant to Tennessee Code Annotated§§ 29-14·103, 29·

      14·113.




      1   This motion is filed under extreme time constraints owing to the exigent nature of Mr. Hodges
      current treatment. Plaintiffs counsel apologizes to the Court for any technical and typographical
      errors.

                                                          2
                       Case: 23-5119     Document: 9      Filed: 07/14/2023    Page: 48
' .

           III.      Statement ofincorporation

      4.          All allegations in this Complaint are incorporated in all sections as if fully set

      forth therein.

           IV.       Parties

      5.          Plaintiff Henry Hodges is a United States citizen and a resident of the State

      of Tennessee. Mr. Hodges is sentenced to death in the state of Tennessee and

      housed at RMSI in Nashville, Davidson County, Tennessee. Mr. Hodges is in the

      custody of the Tennessee Department of Correction (TDOC). He is housed at

      Riverbend Maximum Security Institution (RMS!), Unit 2. Mr. Hodges is currently

      housed in the infirmary at RMS!.

      6.         Defendant Lisa Helton is the Interim Commissioner of the Tennessee

      Department of Correction, a state agency located in Nashville, Tennessee. In her

      capacity as Interim Commissioner, Ms. Helton is responsible for.the safe and

      humane treatment of all prisoners in the custody of TDOC. Plaintiff sues

      Commissioner Helton in her official capacity. Commissioner Helton is a state actor,

      acting under color of state law. Her actions, and those of her agents, have violated

      and continue to violate, Mr. Hodges' constitutional and statutory rights as described

      below.

      7.       Defendant Dr. Kenneth Williams is the Assistant Commissioner of Clinical

      Services and Chief Medical Officer, Tennessee Department of Correction, a state

      agency located in Nashville, Tennessee. Plaintiff sues Dr. vVilliams in his official

      capacity, as he is a state actor, acting under color of state law. Dr. Williams actions,


                                                      3
                Case: 23-5119     Document: 9       Filed: 07/14/2023   Page: 49




and those of his agents, have violated and continue to violate, Mr. Hodges'
constitutional and statutory rights as described below,

      V.      Facts

8.         Henry Hodges suffers from Bipolar Disorder, Mixed Type, Severe, with

Psychotic Features. Ex. 1, Declarations of Dr. George Woods (Collective).

9.         As a child, Mr, Hodges was abducted by a stranger ·and l'aped.

10.        Mr. Hodges periodically suffers from psychotic epfoodes.

11.        When Mr. Hodges' illness is acute, he smears feces in his cell.

12.        On or about October 3, 2022, Mr. Hodges began to smear feces in his cell.

13.        In violation of the prevailing standard of care, Defendants or their agerits, did

not provide .Mr. Hodges with mental health treatment in response to his

manifostation of acute psychiatric disturbance.

14.        On or about October 5, 2022, an agent or agents of Defendant Helton began

to withhold food from Mr. Hodges.

15.        On or .about October 7, 2022, Mr. Hodges psychiatric disturbance increased.

He broke the glass window in the cell where he was housed and cut his left wrist

with a razor blade . Mr. Hodges injury required stitches.

16.        While receiving treatment for his apparent suicide attempt at the RMS!

infirmary, Mr. Hodges informed the treatment provider that he needed to go to

suicide watch.

17.        Major Hereoux, an employ.ee of TDOC assigned to RMSI, told the treatment

provider that Mr. Hodges was manipulating her.


                                                4
             Case: 23-5119      Document: 9      Filed: 07/14/2023   Page: 50



18.   Major Hereoux told the treatmei1t provider that he would place Mr. Hodges

on suicide watch in the unit.

19.   Mr. Hodges was returned.to the unit and placed back in the same cell with

the broken window.

20.   Within an hour of being returned to the unit, Mr. Hodge completely severed

his penis from his body with a razor blade.

21.   Mr. Hodges was transported by ambulanc!l to Vanderbilt Hospital for

treatment.

22.   Attorney Kelly Gleason with the Postsconviction Defender's Office was at

RMSI during the time that the above events took place. Upon exiting the facility,

Ms. Gleason placed a telephone call to undersigned counsel, Kelley Henry for

purposes of alerting her to the situation.

23.   Thereafter, undersigned counsel for Henry Hodges contacted RMSI Warden

Tony Mays and Centurion Medical employee Kyla Soloman to inquire as to Mr.

Hodges status. Ms. Henry provided a release from Mr. Hodges as w.ell as a copy of•

Mr. Hodges' designation of Ms. Henry as his Medical Power of Attorney.

24.   Ms. Henry asked to be kept informed of l\1r. Hodges medical status and to be

permitted access to Mr. Hodges at the hospital.

25.   Acc.ess to Mr. Hodges by counsel while at the. hospital was denied by

Defendants during the entirety of his stay.

22.   Mr. Hodges underwent surgical reconstruction for his injury at Vanderbilt on

October 7, 2022.



                                             5
            Case: 23-5119     Document: 9       Filed: 07/14/2023   Page: 51




23.     Mr. Hodges remained at Vanderbilt for a period of approximately two weeks.
24.     Mr. Hodges did not exhibit signs ofan intent to self-harm or to harm others

while at Vanderbilt.

25.     It is currently unknown whether Mr. Hodges received psychotropic

medications while at Vanderbilt.·

26.     Mr. Hodges was returned to RMSI late in the day .on Friday, October 21,

2022.

27.     Immediately upon .his return to RMSI, Mr. Hodges was placed on a concrete

slab iri 4 point restraints in a cell with no television, radio, or any other means of

mental stimulation.

28.     Defendants actions triggered Mr. Hodges psychiatric condition.

29.     Mr. Hodges managed to slip a hand out of dne restraint and.removed his

penile catheter.

30.     Thereafter, Mr. Hodg()s was placed in 6 point restraints.

31.     At approximately 5:20 PM on October 21, 2022, undersigned counsel spoke

with Kyla Solomon to inquire about Mr. Hodges condition. Ms. Solomon

acknowledge that she was aware that Ms. Henry is Mr. Hodges POA and asked Ms.

Henry to forward another copy of the POA by email so that she could forward to Dr.

Williams.

32.     Ms. Solomon later confirmed that she had found the POA and that it had

been forwarded to Dr. Williams.

33.     At approximately 5:30 PM on October 21, 2022, Associate Warden for


                                            6
            Case: 23-5119    Document: 9       Filed: 07/14/2023   Page: 52



Security Ernest Williams informed Ms. Henry that her request to speak with Mr.
Hodges via a ·speakerphone was denied,

34.    At approximately 6:30 PM on October 21, 2022, Defendant Dr. Williams

spoke with Ms. Hen.ry by speakerphone.

35.    Defendant Williams informed Ms. Henry that Mr. Hodges was refusing to

permit staff to clean his wound.

36.    Defendant Williams stated that the prison had placed a. request to the

Treatment Review Committee to determine whether Mr. Hodges was competent to_

refu_se treatment,

37.    Dr. Williams then asked Ms. Henry if she would authorize the cleaning of Mr.

Hadges wound as Mr. Hodges POA.

3.8,   Ms. Henry stated that she did agree to the cleaning of Mr. Hodges' wound but

would not authorize the involuntary use of psychotropic medication under such time

as she could consult with.a treating mental health provider.

39.    Defendant Williams stated that counsel would be permitted to visit Mr.

Hodges at the infirmary on Saturday, October 22, 2022.

40.    Defendant Williams stated that he had no objection to Ms. Henry speaking

with Mr. Hodges by speakerphone.

41.    At approximately 8:30 PM, Ms, Henry was permitted to speak with Mr.

Hodges. Warden Tony Mays was present and placed his cell phone on speaker so

that Mr. Hodges and Ms. Henry could communicate.

42.    Mr. Hodges stated that he had agreed to take psychiatric medication.


                                           7
             Case: 23-5119       Document: 9       Filed: 07/14/2023   Page: 53



43.      Mr. Hodges begged Warden Mays to rel!lase him from his restraints, stating
"I'll do anything you want."

44,      Mr. Hodges begged Ms. Henry to "please, do whatever you have to do to get

me out of these restraints. I will do whatever these people want."

45.      Ms, Henry asked Mr. Hodges to promise her not to try to hurt himself or any

ofher person. Mr. Hodges promised that he would not.

46.      At all times since Octobe.r 21, 2022, Mr. Hodges has been restrained in either

4 point or 6 point restraints.

47.      At all times since October 21, 2022, Mr. Hodges has been deprived of

clothing.

48.      At all times since October 21, 2022, Mr. Hodges has been sti,apped to a vinyl

mattress on top of a concrete slab. There are no sheets, The lights are kept on at .all

times.

49.      Mr. Hodges has not been permitted to attempt to ambulate since October 21,

2022.

50.      Mr, Hodges was left in his own defecation for a significant length of time on

October 21, 2022.

51.      Mr. Hodges has refused solid food since October 21, 2022. He is currently on a

hunger strike.

52.      Mr. Hodges is taking liquid.

53.      Mr. Hodges has not had a bowel movement since being left in his own

excrement on October 21, 2022.



                                               8
              Case: 23-5119     Document: 9       Filed: 07/14/2023   Page: 54



.54.   Mr. Hodges is currently.in pain.
55.      M.r; Hodg13s is unable to move his right leg.

56,      Mr. Hodges left side is numb.

57.      Mr. Hodges is undergoing extreme psychiatric distress.

58.      Mr. Hodges conditions of confinement constitute torture.

59.      Mr. Hodges is not able to access the grievance process bec:ause of his

condition.

60.      Repeated requests to remove Mr. Hodges from his restraints and to provide

him with clothing have been ignored.

61.      On October 26, 2022, Ms. Henry sought a meeting with General Counsel for

TDOC Debra Inglis and attorney for Centurion Medical, Bryce Coatney. Ex. 2,

Email.

62.    Ms. Inglis did not respond to the email reqtlest.

6.3.   Mr. Coatney responded that Ms. Inglis was on vacation and that.he deferred

to her. Id.

64.      On October 27, 2022, undersigned counsel met with Mr. Hodges in the

infirmary. He remained unclothed, but had a blanket over his body. Mr. Hodges

begged Ms. Henry to file this complaint.

65.    Mr. Hodges believes that the prison is involved in a conspiracy and is

attempting to kill him.

66.    Undersigned counsel informed counsel for Defe.ndants of her intent to file this

complaint and to request a TRO. Ex. 2, Email.



                                              9
                 Case: 23-5119     Document: 9        Filed: 07/14/2023      Page: 55



67.         Physical Restraints are to be used as last resort. Ex. 8, Declal'ation of Dr.
Eric .Rueth.

68.         Physical Restraints are. to be. used for a short duration. Id.

69.         Use of physical restraints by Defendants here is inhumane. Id.

70.         Use of physical re.strain ts by Defendants here violates the standard of car.e ·in

the medical and mental health commu11ity. Id.

71.         Defendants' actions constitute deliberate indifference to a known med.ical

ne.ed. ld

72.         Defendants' actions constitµte deliberate indifference to a known psychiatric

need. Id

      VI.      Causes of Action

               Count 1: Failure to Provide Adequate Medical and Mental Health
               Treatment in violation of the Tennessee Constitution Article 1, §§ 2, 8, 16,
               17, 32: Article VI, § 2 of the United States Constitution; the Eighth, and
               Fourteenth Amendments to the United States. Constitution, 42 U,S.C, §
               1983, and state and federal law.

73.         Plaintiff inco1·porates paragraphs 1,72 as if fully incorporated herein.

74.         Defendants by their actions and inaction have violated Mr. Hodges rights to

competent medical and mental health care. Estelle v. Gamble, 429 U.S. 97, 104-05;

97 S.Ct. 285, 50 L.Ed.2d 251 (1976).


               Count 2: Cruel and Unusual Pu.nishment in violf;ltion of the Tennessee
               Constitution Article 1, §§ 2, 8, 16, 17, 32; Article VI, § 2 of the United
               States Constitution, the Eighth, and Fourteenth Amendments to the
               United States Constitution, 42 U.S.C. § 1983, and state and federal law,

75.         Plaintiff incorporates paragraphs 1-74 1;1s if fully incorporated herein.


                                                 10
                Case: 23-5119      Document: 9        Filed: 07/14/2023    Page: 56



76.      Defendants by their action$ an\i inaction have violated Mr. Hodges rights to
be free from cruel and unusual punishment.

                Count 8: Intentional infliction of emotional distress in violation ofthe
                Tennessee Constitution Article 1, §§ 2, 8, 16, 17, 82; Article VI, § .2 of the
              · United States Constitution, the Eighth, and Fourteenth Amendments to
                the United States Constitution, 42 U.S.C. § 1983; and state and federal
                law.

77.      Plaintiff incorporates paragraphs 1-76 as if fully incorporated herein.

78.      Defendants by their actions and inaction have caused extreme .mental

emotional distress to Mr. Hpdges. Defendants' actions rise to the level of torture.

              Count 4: Due process denial ofliberty interest to be free from physical .
              restraint in violation of the Tennessee Constitution Article 1, §§ 2 1 8, 16,
              17, 32; Article VI, § 2 of the United States Constitution, the Eighth, and
              Fourteenth Amendments to the United States Constitution, 42 U.S.C. §
              1983, and state and federal law.

79.      Plaintiff incorporates paragraphs 1-78 as if fully incorporated herein.

80.      Defendants by their actions have deprived Mr. Hodges of his liberty intereste

to be free from unconstitutional restraint without due process oflaw.


      VII.    Prayers for Relief

      Plaintiff seeks Declaratory, e·quitable, and injunctive relief. Specifically, Mr.

Hodges prays this Court to:

         1.       Declare that Defendants actions and inaction constitute delibei'ate

indifference.

         2.       Declare that Defendants actions and inaction violate Plaintiffs 1.'ights

to competent medical and mental health treatment.

         3.       Declare that Defendants actions and inaction violate Plaintiffs rights

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             Case: 23-5119     Document: 9     Filed: 07/14/2023       Page: 57



to be free from cruel and unusual treatment.
      4.      Declare that Defendants actions and inaction violate Plaintiffs due

process liberty interest to be free from unconstitutional restraint.

      5.     Declare that Defendants actions and inaction have caused Plaintiff

extreme emotional and psychiatric distress.

      6.     Order Defendants to release Mr. Hodges from his physical restraints.

      7.     · Order Defendants to provide Mr. Hodges clothing.

      8.     Order Defendants to keep Mr. Hodges in a room where he is able to

receive mental cStimulation.

      9,     Order Defendants to adjust the lighting in his confined space in such a

way as to permit sleep.

      10.    Appoint an independent monitor of Mr. Hodges medical and mental

health treatment.

      11.    Order Defendants to preserve any and all evidence relevant to .this

complaint.

      12.    Conduct an emergency hearing for a temporary restraining order.

      13.    Any and all relief this Court deems fair and just.

      Respectfully submitted this 28th day of October, 2022.




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           Case: 23-5119     Document: 9        Filed: 07/14/2023   Page: 58




                                 FEDERAL PUBLIC DEFENDER FOR THE
                                 MIDDLE DISTRICT OF TENNESSEE

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                           CERTIFICATE OF SERVICE
      I certify that on October 28, 2022, I emailed .a copy of the foregoing to

opposing counsel:



      Scott Sutherland, Deputy Attorney General
      Office of the Attorney General and Reporter
      Law Enforcement and Special Prosecutions Division
      P.O. Bo" 20207
      Nashville, Tennessee 37202-0207.


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